Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 1 of 106 PageID:
                                    2713


                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,
                                            No. 25-cv-01963 (MEF)(MAH)
             Petitioner,
                                                  OPINION and ORDER
        v.

  DONALD TRUMP et al.,


             Respondents.



                             Table of Contents

 I.    Background
       A.    The Facts
       B.    Procedural History
             1.    Immigration Court
             2.    Federal Court
       C.    The Motion
 II.   The Court’s Approach
 III. Vagueness: Legal Principles
 IV.   The Secretary of State’s Determination
 V.    Vagueness
       A.    Section 1227
             1.    The Relevant Part
             2.    Sources
             3.    Meaning
       B.    Other Countries
             1.    “Want of Proper Words”
             2.    Domestic Impact
Case 2:25-cv-01963-MEF-MAH     Document 272   Filed 05/28/25   Page 2 of 106 PageID:
                                      2714


       C.    In Comparison
             1.   Precedent
                  a)   Kolender
                  b)   Akron
                  c)   Cramp
             2.   The Counterargument
             3.   Implications
       D.    History
             1.   Legislative History
                  a)   Its Role
                  b)   The Conference Report
                  c)   The Prior Statute
             2.   Enforcement History
       E.    Difficulty
       F.    The First Amendment
       G.    Another Approach
       H.    Conclusion
 VI.   Failure to Disclose
 VII. Remedy
 VIII. Conclusion
                                  *    *      *

 Federal officials detained a lawful permanent resident and seek
 to remove him from the United States for two reasons.

 First, because his application for lawful permanent residence
 was allegedly inaccurate.

 And second, because the Secretary of State has determined that
 his presence in the United States “compromise[s] a compelling
 . . . foreign policy interest.”

 The lawful permanent resident filed a habeas corpus petition,
 and has moved to preliminarily enjoin various federal officials
 --- arguing that the Constitution forbids them from removing him
 from the United States for either of the two cited reasons.

 As to the first reason, the lawful permanent resident has not
 established a likelihood of success on the merits of his claim.

                                       2
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 3 of 106 PageID:
                                    2715


 Therefore, his motion for a preliminary injunction is denied.

 As to the second reason, the lawful permanent resident has
 established a likelihood of success on the merits.

 But he has not put forward evidence as to the other things he
 must show to secure a preliminary injunction. The Court will
 now afford him a chance to do so.

                                *    *      *

 I.    Background

       A.    The Facts

 The relevant facts for now are as follows.
 A lawful permanent resident1 was arrested by federal officials.
 See Declaration of Amy E. Greer (ECF 11-1) ¶¶ 4-6; Second
 Supplemental Declaration of Acting Field Office Director William
 P. Joyce (ECF 72) ¶¶ 6-7.
 He remains in immigration custody. See Petitioner’s Amended
 Memorandum of Law in Support of Motion for Preliminary
 Injunctive Relief (ECF 124) (“Motion for Preliminary
 Injunction”) at 1–2.
 The Department of Homeland Security is seeking to remove him
 from the United States on two grounds.
 The first ground:
 To become a lawful permanent resident, a person must submit an
 application to federal officials. See 8 C.F.R. § 245.2(a)(3).
 The application has to be filled out “fully and accurately.”
 U.S. Citizenship & Immigr. Servs., Instructions for Application
 to Register Permanent Residence or Adjust Status,
 https://perma.cc/RZ5K-N47Z (accessed on May 28, 2025) (page 5 of
 42).
 In 2024, the lawful permanent resident completed his lawful-
 permanent-resident application. See DHS Evidence, Tab 2 (Apr.


 1  Mahmoud Khalil. A lawful permanent resident is a person who
 has “been lawfully accorded the privilege of residing
 permanently in the United States as an immigrant in accordance
 with the immigration laws[.]” 8 U.S.C. § 1101(a)(20).

                                     3
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 4 of 106 PageID:
                                    2716


 9, 2025) (Form I-485); see also Third Amended Petition
 (“Petition”) ¶ 21.
 But per federal officials, he did not accurately answer certain
 questions. See Additional Charges (Mar. 17, 2025).
 This can be a basis for removal from the United States. See
 id.; see also 8 U.S.C. §§ 1182(a)(6)(C)(i), 1227(a)(1)(A).
 The second ground for removal:
 The Secretary of State determined that the lawful permanent
 resident’s continued presence or activities in the United States
 would “compromise a compelling foreign policy interest.” See
 Memorandum from Marco Rubio, Secretary of State, to Kristi Noem,
 Secretary of Homeland Security (“Determination”) (ECF 198-1), at
 1.2
 Such a determination can also be a basis for removal.             See 8
 U.S.C. § 1227(a)(4)(C).

       B.    Procedural History

 There are two branches to this case.
 Federal officials have brought removal proceedings in
 immigration court. And the lawful permanent resident has
 brought a habeas corpus case in federal court.

             1.   Immigration Court

 Removing a lawful permanent resident from the United States
 generally requires a hearing. See 8 U.S.C. § 1229a. Those
 typically go forward before an immigration judge. See id.
 § 1229a(a)(1); 8 C.F.R. § 1240.10(a).
 Federal officials have begun removal proceedings against the
 Petitioner before an immigration judge.
 The immigration judge has not ruled on the first ground, as to
 whether the lawful permanent resident can be removed based on
 the way he filled out the above-referenced application.
 But she has ruled on the second ground, holding that the
 Petitioner can be removed from the United States based on the



 2  The substance of the Secretary’s determination is described in
 Part IV.
                                      4
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 5 of 106 PageID:
                                    2717


 Secretary of State’s determination. See Audio Recording of
 Hearing (April 11, 2025) at 1:34:40 to 1:38:26.

             2.   Federal Court

 Separate from the above, the lawful permanent resident initiated
 his own proceedings.
 He filed a habeas corpus petition in federal district court.
 From here, he is called “the Petitioner.” The various people he
 named in his habeas petition are referred to, collectively, as
 “the Respondents.”3
                                *    *      *
 The Petitioner filed his suit in New York, but the case was
 transferred to New Jersey. See Khalil v. Joyce, 2025 WL 849803
 (S.D.N.Y. Mar. 19, 2025).
 Here, the Respondents moved to dismiss the case, arguing that it
 should go forward only where the Petitioner has been in
 immigration custody --- Louisiana. The motion was denied. The
 Court held that habeas jurisdiction is proper in New Jersey.
 See Khalil v. Joyce, 2025 WL 972959 (D.N.J. Apr. 1, 2025).4
 The Respondents also argued that jurisdiction was stripped from
 this Court under the Immigration and Nationality Act. See
 Respondents’ Opposition to Petitioner’s Motion for a Preliminary
 Injunction (“Opposition Brief”) (ECF 156) at 8-21. The Court
 rejected this argument, holding that its habeas jurisdiction

 3  The Respondents are listed in the current habeas petition as:
 President of the United States Donald Trump; Acting Field Office
 Director of New York, United States Immigration and Customs
 Enforcement, William P. Joyce; Warden of Elizabeth Contract
 Detention Facility Yolanda Pittman; Acting Director of United
 States Immigration and Customs Enforcement Caleb Vitello;
 Secretary of the United States Department of Homeland Security
 Kristi Noem; Secretary of the United States Department of State
 Marco Rubio; and Attorney General of the United States Pamela
 Bondi.
 4  The Court certified its April 1 opinion and order under 28
 U.S.C. § 1292(b), by an opinion dated April 4. See Khalil v.
 Joyce, 2025 WL 1019658, at *2 (D.N.J. Apr. 4, 2025). On May 6,
 the Third Circuit denied the petition to appeal. See Khalil v.
 President U.S., No. 25-08019 (3d Cir. May 6, 2025).

                                     5
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 6 of 106 PageID:
                                    2718


 remains intact. See Khalil v. Joyce, 2025 WL 1232369 (D.N.J.
 Apr. 29, 2025).5
 Finally, the Respondents moved to dismiss or transfer this case
 for lack of venue. The briefing was completed as of May 5, and
 the motion was denied that day. See ECF 248.

       C.    The Motion

 As noted, the Petitioner has moved for a preliminary injunction.
 See ECF 66.
 The motion became fully submitted on May 14, with the filing of
 the parties’ final legal brief. See ECF 255.
 The Petitioner’s motion is based on two arguments.
 First, the Petitioner claims that the efforts to remove him are
 retaliation for his exercise of First Amendment-protected
 speech. See Motion for Preliminary Injunction at 10–18.
 And second, he argues that the efforts to remove him violate the
 Due Process Clause, because they are rife with unconstitutional
 “vagueness.” See id. at 23-31.
 The Petitioner’s motion is before the Court.

 II.   The Court’s Approach

 Federal officials, as noted, are seeking to remove the
 Petitioner from the United States on two grounds, see Part I.A.,
 and the Petitioner’s motion aims to enjoin them from doing so.
 See Part I.C.
                                *    *      *
 The Court first considers whether the underlying federal
 statutes are unconstitutionally vague as they are being applied
 to the Petitioner by means of the Secretary of State’s
 determination. See Motion for Preliminary Injunction at 23–31.




 5  On April 30, the Respondents moved to certify the April 29
 opinion under 28 U.S.C. § 1292(b). See ECF 218. The Petitioner
 opposed the motion. See ECF 221. On May 1, the Court issued an
 opinion denying certification. See Khalil v. Joyce, 2025 WL
 1262349, at *2 (D.N.J. May 1, 2025).
                                     6
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 7 of 106 PageID:
                                    2719


 As to this argument, the Court lays out the governing legal
 principles, see Part III, and then describes the Secretary’s
 determination. See Part IV.
 From there, the Court provides its conclusion: the Petitioner is
 likely to succeed6 on the merits of this unconstitutional
 vagueness argument. See Part V.
 But this does not entitle him to a preliminary injunction. He
 has not put before the Court evidence as to the various other
 things he must prove, see footnote 6, before an injunction might
 issue. See Part VII. The Court will give the Petitioner a
 chance to quickly fill out the record, and for the Respondents
 to then weigh in. See id.
                                *    *      *
 The Court also considers what it understands to be7 the
 Petitioner’s second argument: that he cannot be removed from the
 United States based on his alleged failure to accurately fill
 out his lawful-permanent-resident application --- because the
 effort to remove him flows from an allegedly unconstitutional
 policy established by the President and his senior advisors.
 The Court’s conclusion: this argument is not meaningfully
 developed, and the Petitioner therefore has not carried his
 burden of showing that he is likely to succeed on the merits.
 Accordingly, an injunction may not issue. See Part VI.
                                *    *      *
 Start off, just below, with the legal principles that govern the
 Petitioner’s void-for-vagueness challenge to the Secretary of
 State’s determination that he should be removed from the United
 States.

 6  The focus throughout is on likely success, not success. This
 is because to win on his preliminary injunction motion, the
 Petitioner must show “he is [1] likely to succeed on the merits,
 [2] that he is likely to suffer irreparable harm in the absence
 of preliminary relief, [3] that the balance of equities tips in
 his favor, and [4] that an injunction is in the public
 interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,
 20 (2008) (emphasis added). The first two factors are “the most
 critical.” Nken v. Holder, 434 U.S. 418, 434 (2009).
 7  “Understands to be” because, as noted in Part VI, the argument
 on this point is not crystal clear.
                                     7
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 8 of 106 PageID:
                                    2720


 III. Vagueness: Legal Principles

 Our laws are required to strike a balance.
 A law cannot be so narrow that it punishes pre-selected people.
 Think, for example, of the Constitution’s limit on bills of
 attainder. See U.S. Const., art. I, § 9, cl. 3; Cummings v.
 Missouri, 71 U.S. 277 (1866).
 And at the same time, a law cannot be so broad that it covers
 just about anyone. See United States v. Reese, 92 U.S. 214, 221
 (1875).
 A given law needs clarity, too.
 The rule of lenity,8 for example, helps to ensure that our
 criminal laws are exacting. See, e.g., Liparota v. United
 States, 471 U.S. 419, 427 (1985).
 Constitutional vagueness doctrine is animated by each of these
 concerns.
 The scope of a law matters for vagueness doctrine.            And so does
 how clear it is.
 Take clarity first.
 Vagueness doctrine requires that a law be clear enough to
 provide real notice --- understandable guidance as to the
 conduct a person should steer himself away from, to avoid the
 negative consequence the law lays out.
 This sort of guidance “guarantees that ordinary people have fair
 notice of the conduct a statute proscribes.” Sessions v.
 Dimaya, 584 U.S. 148, 155-56 (2018) (cleaned up).
 And this “guarantee” is a matter of constitutional law. Why?
 Because “[v]ague laws contravene the first essential of due
 process of law that statutes must give people of common




 8  “The judicial doctrine holding that a court, in construing an
 ambiguous criminal statute that sets out multiple or
 inconsistent punishments, should resolve the ambiguity in favor
 of the more lenient punishment.” Rule of Lenity, Black’s Law
 Dictionary (12th ed. 2024).
                                     8
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 9 of 106 PageID:
                                    2721


 intelligence fair notice of what the law demands of them.”
 United States v. Davis, 588 U.S. 445, 451 (2019) (cleaned up).9
 Vagueness doctrine zeros in on a second concern, too.
 It aims to cut off laws that are so broad, or so fuzzy, that
 they end up warping the separation of powers --- by handing over
 de facto responsibility for deciding what the law forbids from
 legislators (who are supposed to be the ones making the law) to
 executive officials like police or prosecutors (who are only
 supposed to be enforcing it).10


 9  See also, e.g., City of Chi. v. Morales, 527 U.S. 41, 58
 (1999) (“[T]he purpose of the fair notice requirement is to
 enable the ordinary citizen to conform his or her conduct to the
 law.”); Gentile v. State Bar of Nev., 501 U.S. 1030, 1077-78
 (1991) (“The void-for-vagueness doctrine is concerned with a
 defendant’s right to fair notice and adequate warning that his
 conduct runs afoul of the law.”); Grayned v. City of Rockford,
 408 U.S. 104, 108 (1972) (“[W]e insist that laws give the person
 of ordinary intelligence a reasonable opportunity to know what
 is prohibited, so that he may act accordingly.”); Rabe v.
 Washington, 405 U.S. 313, 315 (1972) (“To avoid the
 constitutional vice of vagueness, it is necessary, at a minimum,
 that a statute give fair notice that certain conduct is
 proscribed.”); Papachristou v. City of Jacksonville, 405 U.S.
 156, 162 (1972) (“[A vague law] fails to give a person of
 ordinary intelligence fair notice that his contemplated conduct
 is forbidden by the statute.”) (cleaned up); Jordan v. De
 George, 341 U.S. 223, 230 (1951) (“The essential purpose [of
 vagueness doctrine] . . . is to warn individuals of the . . .
 consequences of their conduct.”); Connally v. Gen. Constr. Co.,
 269 U.S. 385, 391 (1926) (“[A] statute which either forbids or
 requires the doing of an act in terms so vague that men of
 common intelligence must necessarily guess at its meaning and
 differ as to its application violates the first essential of due
 process of law.”).
 10 See, e.g., Davis, 588 U.S. at 451 (“Vague statutes threaten
 to hand responsibility for defining crimes to relatively
 unaccountable police, prosecutors, and judges, eroding the
 people’s ability to oversee the creation of the laws they are
 expected to abide.”); Kolender v. Lawson, 461 U.S. 352, 358
 (1983) (“Where the legislature fails to provide . . . minimal
 guidelines, a criminal statute may permit a standardless sweep
 that allows policemen, prosecutors, and juries to pursue their


                                     9
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 10 of 106 PageID:
                                    2722


  This blurring of law-making power with law-enforcing power can
  be an “invit[ation] [to] arbitrary enforcement,” because it can
  leave executive officials “free to decide, without any legally
  fixed standards, what is prohibited and what is not in each
  particular case[.]” Beckles v. United States, 580 U.S. 256, 266
  (2017) (cleaned up).11
  In a nutshell: a concern for notice to “ordinary people,” and a
  concern for subjecting government power to crisply drawn and
  “fixed” standards --- these are the two main engines of
  constitutional vagueness doctrine.
                                *     *     *
  Take up the details of vagueness doctrine as they come up.
  For now, two last things.
                                *     *     *
  First, how vague a law can be depends on the kind of law it is.
  Civil laws that deal mainly with economic matters take the
  lowest rung on the ladder.



  personal predilections.”) (cleaned up); cf. Reese, 92 U.S. at
  221 (“[i]t would certainly be dangerous if the legislature could
  set a net large enough to catch all possible offenders, and
  leave it to the courts to step inside and say who could be
  rightfully detained,” and “[t]his would . . . substitute the
  judicial for the legislative department of the government”).
  Vague laws can also sometimes transfer lawmaking power to other
  actors, too. Juries and judges, for example. See, e.g.,
  Beckles v. United States, 580 U.S. 256, 266 (2017); Johnson v.
  United States, 576 U.S. 591 (2015); see also Louisville & N. R.
  Co. v. R.R. Comm’n of Tenn., 19 F. 679, 691 (C.C.M.D. Tenn.
  1884); Ex Parte Jackson, 45 Ark. 158, 164 (1885).
  11 See, e.g., Johnson, 576 U.S. at 595 (due process is violated
  when a law is “so standardless that it invites arbitrary
  enforcement”); Vill. of Hoffman Ests. v. Flipside, Hoffman
  Ests., Inc., 455 U.S. 489, 498 (1982) (“[I]f arbitrary and
  discriminatory enforcement is to be prevented, laws must provide
  explicit standards for those who apply them.”) (cleaned up);
  Smith v. Goguen, 415 U.S. 566, 572-73 (1974) (vagueness doctrine
  “requires legislatures to set reasonably clear guidelines for
  law enforcement and triers of fact in order to prevent arbitrary
  and discriminatory enforcement”) (cleaned up).
                                     10
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 11 of 106 PageID:
                                    2723


  As to these sorts of laws, vagueness doctrine is not especially
  demanding. See, e.g., Vill. of Hoffman Ests. v. Flipside,
  Hoffman Ests., Inc., 455 U.S. 489, 499 (1982); Joseph E. Seagram
  & Sons, Inc. v. Hostetter, 384 U.S. 35, 48-49 (1966); United
  States v. Nat’l Dairy Prods. Corp., 372 U.S. 29, 34-35 (1963).
  The next level up: criminal laws.
  These get a much harder look from a vagueness perspective. See,
  e.g., City of Chi. v. Morales, 527 U.S. 41, 56 (1999); Posters
  ‘N’ Things, Ltd. v. United States, 511 U.S. 513, 525 (1994);
  Kolender v. Lawson, 461 U.S. 352, 357 (1983); Papachristou v.
  City of Jacksonville, 405 U.S. 156, 165–66 (1972); Lanzetta v.
  New Jersey, 306 U.S. 451, 453 (1939).
  And critically: this is also the category for immigration laws
  that can trigger removal from the United States, laws like the
  ones the Secretary of State’s determination is based on. See
  Dimaya, 584 U.S. at 156–57 (citing Jordan v. De George, 341 U.S.
  223, 229, 231 (1951)).
  Up at the top --- arguably vague laws that touch on First
  Amendment-protected rights.
  These must meet the most exacting vagueness standards. See,
  e.g., FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253-54
  (2012); Smith v. Goguen, 415 U.S. 566, 573 (1974); Baggett v.
  Bullitt, 377 U.S. 360, 372 (1964); Cramp v. Bd. of Pub.
  Instruction of Orange Cnty., 368 U.S. 278, 287 (1961); Winters
  v. New York, 333 U.S. 507, 518 (1948).
                                *     *     *
  A second point, the final one for now.
  Vagueness challenges to a law run down one of two tracks. There
  are facial challenges, and there are “as applied” challenges.
  See generally 32 Charles Alan Wright & Arthur R. Miller, Fed.
  Prac. & Proc. Judicial Review § 8141 (2d ed. 2025).
  A facial challenge is about the law as it might be applied to
  everyone (or nearly everyone).
  An as-applied challenge is about the law as it actually applies
  to the person who brings the challenge.
  To win on a facial challenge, a person must show that a law is
  vague in all of its applications (or at least in a great many of


                                     11
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 12 of 106 PageID:
                                    2724


  them). See id.; Johnson v. United States, 576 U.S. 591, 595–96,
  602-03 (2015); Hoffman Ests., 455 U.S. at 495.
  To win on an as-applied challenge, a person must show that a law
  is vague in the way that it is being applied to him. See Fed.
  Prac. & Proc. Judicial Review § 8141 n.13 (collecting cases).
                                *     *     *
  More on the law as it comes.
  Turn now to a description of the Secretary of State’s
  determination.

  IV.   The Secretary of State’s Determination

  As noted, under 8 U.S.C. § 1227(a)(4)(C), a foreign national may
  be removed from the United States based on a determination from
  the Secretary of State.
  Such determinations must meet higher standards when they are
  based on a foreign national’s “otherwise lawful” “beliefs,
  statements, or associations.” See 8 U.S.C.
  § 1182(a)(3)(C)(iii).
  Those higher standards have a procedural aspect and a
  substantive aspect.
  As to procedure, the Secretary’s determination must be (a) made
  by him personally and (b) reported to certain congressional
  leaders. See id. §§ 1182(a)(3)(C)(iii), 1182(a)(3)(C)(iv).
  As to substance, the Secretary must determine that the foreign
  national’s “presence or activities” in the United States “would
  compromise a compelling United States foreign policy interest.”
  Id. §§ 1227(a)(4)(C)(i), 1182(a)(3)(C)(iii).
                                *     *     *
  Here, the Secretary of State’s determination came in the form of
  a memorandum. See Determination at 1.
  In it, the Secretary referenced the higher standard. See
  Determination at 1 (“Under INA section 237(a)(4)(C)(ii), for
  cases in which the basis for this determination is the alien’s
  past, current, or expected beliefs, statements, or associations
  that are otherwise lawful, the Secretary of State must
  personally determine that the alien’s presence or activities
  would compromise a compelling U.S. foreign policy interest.”).


                                     12
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 13 of 106 PageID:
                                    2725


  And in the memo, the Secretary seemed to apply the higher
  standard. See id. (“I have determined that the activities and
  presence of these aliens in the United States would have
  potentially serious adverse foreign policy consequences and
  would compromise a compelling U.S. foreign policy interest.”).
  In short: the higher standard is the one that is invoked here.12
                                *     *     *
  The Secretary determined that the Petitioner undertook
  activities within the United States.13
  The effects of these activities, the Secretary determined, were
  felt inside the United States.14




  12 Two things. First, 8 U.S.C. § 1227(a)(4)(C) became law in
  1990. Immigration Act of 1990, Pub. L. No. 101-649, 104 Stat
  4978. But until 1996, it was in a different place in Title 8 of
  the United States Code --- not in Section 1227, as it is now,
  but in Section 1251. See 8 U.S.C. § 1251(a)(4)(C)(i) (1995);
  see also Omnibus Consolidated Appropriations Act, 1997, Pub. L.
  No. 104-208, 110 Stat 3009 (moving the provisions). And second,
  the higher standard that is relevant here is in its own corner
  of Title 8. It is at Section 1182. For ease of reference,
  throughout this Opinion and Order the Court refers collectively
  to (a) Section 1227(a)(4)(C), (b) the former Section 1251, and
  (c) the relevant subsections of Section 1182 --- as “Section
  1227.”
  13 The Secretary’s determination described the Petitioner’s
  “participation and role[] . . . in antisemitic protests and
  disruptive activities,” and the Petitioner’s “public
  actions . . . in the United States.” Determination at 2.
  14  Per the determination, the Petitioner’s activities “fostered
  a hostile environment for Jewish students in the United States,”
  and the Petitioner’s “continued presence . . . in the United
  States undermine[s] U.S. policy to combat anti-Semitism . . . in
  the United States, in addition to efforts to protect Jewish
  students from harassment and violence in the United States.”
  Id.


                                     13
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 14 of 106 PageID:
                                    2726


  The Secretary determined that these activities also had an
  impact outside of the United States.15 See id.
  The full determination is at Appendix A.         The substantive part
  is this:
             I have determined that the activities and
             presence of [the Petitioner] in the United
             States would have potentially serious
             adverse foreign policy consequences and
             would compromise a compelling U.S. foreign
             policy interest. Th[is] determination[]
             [is] based on information provided by the
             DHS/ICE/HIS regarding the participation and
             role[] of . . . [the Petitioner] in
             antisemitic protests and disruptive
             activities, which fosters a hostile
             environment for Jewish students in the
             United States. . . . The public actions and
             continued presence of . . . [the Petitioner]
             in the United States undermine[s] U.S.
             policy to combat anti-Semitism around the
             world and in the United States, in addition
             to efforts to protect Jewish students from
             harassment and violence in the United
             States. Consistent with E.O. 14150,16
             America First Policy Directive to the
             Secretary of State, the foreign policy of
             the United States champions core American
             interests and American citizens and
             condoning anti-Semitic conduct and
             disruptive protests in the United States
             would severely undermine that significant
             foreign policy objective.
  Id. at 1-2.




  15 The Secretary determined that “[t]he public actions and
  continued presence” of the Petitioner “undermine[s] U.S. policy
  to combat anti-Semitism around the world.” Id.

  16 This is a reference to Executive Order 14,150, issued by the
  President on January 20, 2025. It is attached as Appendix B.

                                     14
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 15 of 106 PageID:
                                    2727


  V.     Vagueness

  Is the Petitioner likely to succeed on the merits of his claim
  that Section 1227,17 applied to him through the Secretary’s
  determination, is unconstitutionally vague?
  The Court’s conclusion: yes.
  This Part explains why.

         A.   Section 1227

              1.     The Relevant Part

  At the core of any constitutional vagueness claim is the
  argument that a law is doubly flawed.
  It does not put the ordinary person on notice as to what is
  allowed and what is not. See Part III.
  And it does not delineate the power of the government sharply
  enough. See id.
  Here, Section 1227 is the statute that is claimed to be vague.
  See Petitioner’s Supplemental Vagueness Brief (ECF 233)
  (“Petitioner’s Supplemental Brief”) at 15.
  But not all parts of Section 1227 matter for a vagueness
  analysis.
  Some parts speak to how a removal might go forward --- removal
  happens, in cases like this one, via a “personal” determination
  by the Secretary of State. See Part IV.
  Other parts of the statute speak to what a person might do to
  potentially get himself removed --- “compromise a compelling
  United States foreign policy interest.” See id.
  Only the latter piece of Section 1227 is relevant to the
  vagueness analysis.
  Why?
  Because only “compromise a compelling . . . foreign policy
  interest” purports to give a foreign national the notice that
  vagueness law requires.


  17 Recall that this is shorthand for a set of laws.            See
  footnote 12.
                                     15
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 16 of 106 PageID:
                                    2728


  And because only “compromise a compelling . . . foreign policy
  interest” purports to bolt on substantive guardrails --- outer-
  edge limits on the space in which an official (here, the
  Secretary) is free to act.
  What notice does “compromise a compelling . . . foreign policy
  interest” supply to the ordinary person? What limits do the
  quoted words put on who the Secretary can remove?18
  Move through a set of sources, to see where the answer to these
  questions might come from.

             2.    Sources

  Section 1227 is a statute, and to know what a statute conveys,
  the first stop is always the same: a look to its words. See,
  e.g., Sw. Airlines Co. v. Saxon, 596 U.S. 450, 457 (2022) (“As
  always, we begin with the text.”); accord, e.g., Consumer Prod.
  Safety Comm’n v. GTE Sylvania, Inc., 447 U.S. 102, 108 (1980);
  Touche Ross & Co. v. Redington, 442 U.S. 560, 568 (1979).
  Vagueness law is no exception.
  To understand both the heads-up that a law gives to a “person of
  ordinary intelligence,” Papachristou, 405 U.S. at 162, and the
  extent to which a law crisply hems in the power of government
  officials, the words of the statute are the place to start. See
  Dimaya, 584 U.S. at 164; Holder v. Humanitarian L. Project, 561


  18 The notice question and the enforcement-power question often
  run together. If an ordinary person needs to guess at what a
  law means, government enforcers may need to guess, too. Cf.
  Winters, 333 U.S. at 519 (it would be “utter[ly] impossib[le]
  [for] the actor or the trier to know where this . . . standard
  of guilt would draw the line”) (emphasis added). And more
  notice often means tighter limits on what the government can do.
  To see the point, imagine if Section 1227 were tweaked --- if it
  said a person could be removed only for “compromising a
  compelling foreign policy interest related to nuclear weapons.”
  The hypothesized change adds specificity, which improves notice.
  And the change also tightens the range of who can be removed,
  which trims back executive discretion. Removal “related to
  nuclear weapons” rings a clearer warning bell. And it also
  limits the Secretary to nuclear-related removals. In a
  nutshell: notice and limits on government power are often yoked
  together, pulling in the same direction. (Not always, though.
  See, e.g., footnote 20.)
                                     16
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 17 of 106 PageID:
                                    2729


  U.S. 1, 20-21 (2010); Morales, 527 U.S. at 56–59; Posters ‘N’
  Things, 511 U.S. at 525–26.
  But they are not usually the place to finish.
  This is because, for the purposes of vagueness law, sources
  outside the statutory text are also relevant.
  But walk through the usual outside-the-text sources here, and it
  becomes clear that they have no role to play in this case, with
  one exception.
                                *     *     *
  First, courts look to prior judicial decisions that interpret
  the statute. Precedents might have clarified the statute, or
  whittled it back. See, e.g., Johnson, 576 U.S. at 601; Skilling
  v. United States, 561 U.S. 358, 407–08 (2010); Grayned v. City
  of Rockford, 408 U.S. 104, 111–12 (1972); United States v. Loy,
  237 F.3d 251, 263 (3d Cir. 2001).
  But that is irrelevant here.
  Section 1227 has been meaningfully analyzed by a federal court
  only once --- by Judge Barry, when she sat on this Court. See
  Massieu v. Reno, 915 F. Supp. 681, 699–703 (D.N.J. 1996), rev’d
  on other grounds, 91 F.3d 416 (3d Cir. 1996).
  Judge Barry did not impose any interpretation on Section 1227.
  See id. at 703.
  Rather, she simply struck it down as unconstitutionally vague --
  - across the board, on its face. See id.19
                                *     *     *
  Second, courts look to the ways in which prior interpretations
  by administrative tribunals have molded a statute’s meaning.
  See, e.g., Fox Television Stations, 567 U.S. at 254–55; U.S.
  Civ. Serv. Comm’n v. Nat’l Ass’n of Letter Carriers, AFL-CIO,
  413 U.S. 548, 572 (1973); see also Alphonsus v. Holder, 705 F.3d
  1031, 1043 (9th Cir. 2013), abrogated on other grounds by
  Guerrero v. Whitaker, 908 F.3d 541 (9th Cir. 2018); Miranda v.
  U.S. Att’y Gen., 632 F. App’x 997, 999 (11th Cir. 2015); Hess v.


  19 The Petitioner has specifically stated that he is not
  pursuing a facial vagueness challenge. See Motion for
  Preliminary Injunction at 29 n.27. Rather, his is an as-applied
  challenge only. See id. at 23–24; see generally Part III.
                                     17
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 18 of 106 PageID:
                                    2730


  Bd. of Parole & Post-Prison Supervision, 514 F.3d 909, 914 (9th
  Cir. 2008).
  But there is no real administrative case law to lean on here.
  In 1999, the Board of Immigration Appeals, the top
  administrative court in this area, held that a Secretary of
  State’s Section 1227 determination is conclusive. See In re
  Ruiz-Massieu, 22 I. & N. Dec. 833, 842 (BIA 1999). An
  immigration judge must take the determination at face value,
  without further analysis. See id.
  That nipped in the bud the development of any potentially
  clarifying administrative case law.
                                *     *     *
  Third, courts thinking through vagueness challenges look to
  administrative regulations that might clarify a statute’s
  meaning and limit the sorts of actions the government can take.
  See, e.g., Northstar Wireless, LLC v. FCC, 38 F.4th 190, 216
  (D.C. Cir. 2022); United States v. Blaszczak, 947 F.3d 19, 40
  (2d Cir. 2019), cert. granted, judgment vacated sub nom. Olan v.
  United States, 141 S. Ct. 1040 (2021); Wis. Res. Prot. Council
  v. Flambeau Mining Co., 727 F.3d 700, 708 (7th Cir. 2013);
  United States v. McAusland, 979 F.2d 970, 975 (4th Cir. 1992).
  But again: nothing like that on the table.
  No regulation, for example, lists the broad categories of
  “foreign policy interests” that could trigger a Section 1227
  removal, or spells out criteria for what might count as
  “compelling.”
                                *     *     *
  Fourth, courts in vagueness cases sometimes look to guidance
  materials --- a manual posted online, for example, can provide a
  heads-up as to how the government might be looking to enforce a
  particular statute. See, e.g., FTC v. Wyndham Worldwide Corp.,
  799 F.3d 236, 257-58 & nn.22-24 (3rd Cir. 2015); accord, e.g.,
  Carman v. Yellen, 112 F.4th 386, 404 (6th Cir. 2024); Cal. Pac.
  Bank v. FDIC, 885 F.3d 560, 571–72 (9th Cir. 2018) (as to




                                     18
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 19 of 106 PageID:
                                    2731


  interpretative materials, such as policy statements, agency
  manuals, etc.).20
  But there is no public manual, or anything else of the kind,
  that sheds light on when the Secretary of State might opt to use
  his Section 1227 power.
                                *     *     *
  Fifth, courts ask if the statute uses technical words. See,
  e.g., Connally v. Gen. Constr. Co., 269 U.S. 385, 391 (1926);
  Hygrade Provision Co. v. Sherman, 266 U.S. 497, 502 (1925);
  Omaechevarria v. Idaho, 246 U.S. 343, 348 (1918). Or well-
  understood legal terms, like phrases pulled in from the common
  law. See, e.g., Cameron v. Johnson, 390 U.S. 611, 616 n.7
  (1968); Winters, 333 U.S. at 519; Mahler v. Eby, 264 U.S. 32, 40
  (1924); accord, e.g., United States v. Nason, 269 F.3d 10, 22
  (1st Cir. 2001); Jellum v. Cupp, 475 F.2d 829, 831 (9th Cir.
  1973).
  “Public interest,” for example, might sound impossibly open-
  ended. See FCC v. RCA Commc’ns, 346 U.S. 86, 90-91 (1953)
  (discussing the term). But decades of judicial precedent have
  defined it, see id. --- and so in some cases, with the common
  law meaning read into the statute, “public interest” can pass a
  vagueness test. See, e.g., N.Y. Cent. Sec. Corp. v. United
  States, 287 U.S. 12, 25 (1932) (taking this approach).
  But none of this is in the mix here.
  “Foreign policy interest” is not a legal term of art.            Neither
  is “compromise.”
  “Compelling” often comes up in constitutional law. See, e.g.,
  Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 532 (2022);
  Fisher v. Univ. of Tex. at Austin, 570 U.S. 297, 314–15 (2013).




  20 Guidance materials provide potential notice --- they help
  “ordinary people,” Morales, 527 U.S. at 64, see what the
  government might do. But they do not generally purport to
  constrain government power by limiting what it can do. So when
  it comes to guidance materials, notice and power do not travel
  together. Guidance supplies notice. But it does not provide an
  equal measure of constraint on the scope of government power.
  Cf. footnote 18.

                                     19
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 20 of 106 PageID:
                                    2732


  But Section 1227 does not import the constitutional law meaning
  of “compelling.”21
                                *     *     *
  Sixth, federal courts routinely look to legislative history to
  decide whether a particular statute is too vague.22
  And in this case, both the Petitioner and the Respondents direct
  the Court to Section 1227’s legislative history. See

  21 In constitutional law, “compelling” indicates which interests
  (ends) the government must be pursuing for an action to have a
  chance to make it past the means-ends gauntlet (“narrowly
  tailored”) required by the doctrine of strict scrutiny. See,
  e.g., Kennedy, 597 U.S. at 532; Fisher, 570 U.S. at 314–15. A
  campaign-finance law that triggers strict scrutiny might clear
  the hurdle if it aims to achieve the compelling interest of
  battling overt corruption. But not if its goal is a non-
  compelling interest, like evening out resources between
  candidates. “Compelling,” in short, matters in constitutional
  law because it defines the subset of government interests that
  can be invoked to try to justify certain government actions.
  But here, there is no need to pick an interest. Congress has
  done that. Section 1227 says it: a “foreign policy interest.”
  In Section 1227, therefore, “compelling” is not shorthand for
  those interests that, as in constitutional law, might be
  important enough to allow for certain government actions.
  Rather, “compelling” in Section 1227 is simply an adjective that
  modifies an already selected interest, a “foreign policy
  interest.”
  22 See Davis, 588 U.S. at 459–60; Nat’l Dairy Prods. Corp., 372
  U.S. at 32–34; United States v. Harriss, 347 U.S. 612, 620-21
  (1954); Boyce Motor Lines v. United States, 342 U.S. 337, 341–42
  (1952); see also Gougen, 415 U.S. at 582 n.30; Kahn v. United
  States, 753 F.2d 1208, 1222 n.8 (3d Cir. 1985); accord, e.g.,
  CPR for Skid Row v. City of L.A., 779 F.3d 1098, 1108 (9th Cir.
  2015); United States v. Rybicki, 354 F.3d 124, 132-37 (2d Cir.
  2003); United States v. Colon-Ortiz, 866 F.2d 6, 11 (1st Cir.
  1989); United States v. Ocegueda, 564 F.2d 1363, 1365 (9th Cir.
  1977); cf. Skilling, 561 U.S. at 404–05; United States v.
  Powell, 423 U.S. 87, 91 (1975); Nat’l Ass’n of Letter Carriers,
  413 U.S. at 571–72; but see United States v. Shreveport Grain &
  Elevator Co., 287 U.S. 77, 83–84 (1932); Fleuti v. Rosenberg,
  302 F.2d 652, 657 (9th Cir. 1962).


                                     20
Case 2:25-cv-01963-MEF-MAH   Document 272    Filed 05/28/25   Page 21 of 106 PageID:
                                    2733


  Petitioner’s Supplemental Brief at 18–19; Respondents’
  Supplemental Vagueness Brief (ECF 256) (“Respondents’
  Supplemental Brief”) at 5–7.
  Here, the legislative history sheds light on how an ordinary
  person might understand Section 1227. That is taken up below,
  in Part V.D.1.
                                *     *       *
  In sum:
  Courts can often draw on outside-the-text sources as part of a
  vagueness analysis.
  These sources can provide notice.         And they can limit government
  enforcement discretion.
  But with the exception of legislative history, none of this is
  in play here. As to Section 1227, there are no relevant
  judicial or administrative decisions, regulations, guidance
  materials, or borrowed technical or legal terms.
  Therefore, the statute mostly stands alone.
  Move now to an analysis of its meaning.

             3.    Meaning

  A statute’s words are generally given their “ordinary meaning.”
  See New Prime Inc. v. Oliveira, 586 U.S. 105, 113 (2019);
  Walters v. Metro. Educ. Enters., Inc., 519 U.S. 202, 207 (1997);
  Perrin v. United States, 444 U.S. 37, 42 (1979); Caminetti v.
  United States, 242 U.S. 470, 485-86 (1917).
  And for an objective, down-the-middle understanding of ordinary
  meaning, courts typically do what everyone else does --- they
  reach for the dictionary. See, e.g., Wis. Bell, Inc. v. United
  States ex rel. Heath, 145 S. Ct. 498, 505 (2025); Taniguchi v.
  Kan Pac. Saipan, Ltd., 566 U.S. 560, 567-69 (2012); Reiter v.
  Sonotone Corp., 442 U.S. 330, 338 (1979); Eisner v. Macomber,
  252 U.S. 189, 207 (1920); Osborne v. S.D. Land & Town Co., 178
  U.S. 22, 38 (1900); Fanning v. Gregoire, 57 U.S. 524, 525
  (1853); United States v. Tenbroek, 15 U.S. (2 Wheat.) 248, 251-
  52 (1817).
  Vagueness doctrine works the same way.
  Courts thinking through vagueness questions start with the words
  of the statute. See Dimaya, 584 U.S. at 160–61; Johnson, 576
                                     21
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 22 of 106 PageID:
                                    2734


  U.S. at 597; Holder, 561 U.S. at 20–21; United States v.
  Williams, 553 U.S. 285, 306 (2008); Morales, 527 U.S. at 56–59;
  Posters ‘N’ Things, 511 U.S. at 525–26; Hoffman Ests., 455 U.S.
  at 500; Coates v. City of Cincinnati, 402 U.S. 611, 614 (1971).
  And they rely on dictionaries to find the “ordinary meaning” of
  the statute’s words, Oliveira, 586 U.S. at 113, so as to land on
  a sense of what “ordinary people,” Johnson, 576 U.S. at 595,
  would take from them.23
  The Supreme Court has taken this approach. See, e.g., Holder,
  561 U.S. at 23-24 (reasoning from a statute’s dictionary
  definition in a vagueness case); Hoffman Ests., 455 U.S. at 501-
  02 (same). And so has the Third Circuit. See CMR D.N. Corp. v.
  City of Phila., 703 F.3d 612, 632 (3d Cir. 2013) (same); United
  States v. Maurer, 639 F.3d 72, 78 (3d Cir. 2011) (same).
                                *     *     *
  Against this backdrop, recall that the relevant part of
  Section 1227 is the piece that says a foreign national can be
  removed if he has “compromise[d] a compelling United States
  foreign policy interest.” See Part V.A.1.
  Zoom in on two of these words: “foreign policy.”
  One current24 definition of “foreign policy”: “the underlying
  basic direction of the activity and relationships of a sovereign

  23 When a statute defines a word, the statute’s definition is
  plugged in, not a dictionary’s. See, e.g., Holder, 561 U.S. at
  20–21. Section 1227’s key words for vagueness purposes are
  “compromise,” “compelling,” and “foreign policy interests.” See
  Part V.A.1. But the statute does not define them.
  24 The law generally asks about a statute’s meaning at the time
  it was enacted. See Niz-Chavez v. Garland, 593 U.S. 155, 160
  (2021); Bostock v. Clayton Cnty., 590 U.S. 644, 654 (2020);
  Tanzin v. Tanvir, 592 U.S. 43, 48 (2020); Oliveira, 586 U.S. at
  113. Time-of-enactment dictionaries help with that work. See
  Delaware v. Pennsylvania, 598 U.S. 115, 128 (2023); Wis. Cent.
  Ltd. v. United States, 585 U.S. 274, 277-78 (2018); see also
  Khalil, 2025 WL 1232369, at *8-9; Khalil, 2025 WL 972959, at
  *17. But here, things may be more complicated. Recall
  vagueness doctrine’s two underlying concerns. One is ensuring
  that the government’s enforcement discretion under a statute is
  appropriately delineated. See Kolender, 461 U.S. at 358;


                                     22
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 23 of 106 PageID:
                                    2735


  state in its interaction with other sovereign states typically
  manifested in peace, war, neutrality, and alliance or various
  combinations of or approaches to these.” Foreign Policy, n.,
  Merriam-Webster’s Unabridged Dictionary (2025).
  Another current definition: “the policies of a government
  regarding relations with other countries.” Foreign Policy, n.,
  Collins English Dictionary (2025).
  And some others.
  “The diplomatic policy of a nation in its interactions with
  other nations.” Foreign Policy, n., New American Heritage
  Dictionary of the English Language (5th ed. 2022).
  “[A] government’s strategy in dealing with other nations.”
  Foreign Policy, n., New Oxford American Dictionary (3d ed.
  2015).25



  Papachristou, 405 U.S. at 162. That starts off with this
  question: what is the government’s enforcement discretion under
  the statute? That is mainly a statutory interpretation
  question. And for Section 1227, that question turns to an
  extent on the meaning of the statute when it was passed, in
  1990. But vagueness doctrine also focuses on notice to ordinary
  people. And that could conceivably require a different focus.
  Not on the meaning of the law when it was passed. But rather on
  what the law was taken to mean when the Petitioner allegedly
  acted --- here, seemingly in 2023 to 2025. All of this may
  suggest that the Court should look to two sets of dictionaries.
  To circa-1990 dictionaries, to get a handle on the precise scope
  of the power Section 1227 gave to the government when the law
  was passed. And to present-day dictionaries, from around 2023
  to 2025, to understand the notice the Petitioner would have
  taken from Section 1227. But there is no need to wade into this
  issue here. The reason why: there is no meaningful difference
  between “foreign policy” as it is understood today and as it was
  understood around 1990. See footnotes 25, 26, and 27.
  25 Dictionaries from around 1990 turn up the same basic meaning.
  Foreign Policy, n., Webster’s Third New International Dictionary
  of the English Language, Unabridged 889 (1993) (“the underlying
  basic direction of the activity and relationships of a sovereign
  state in its interaction with other sovereign states typically
  manifested in peace, war, neutrality, alliance or various
  combinations or approaches to these”); Foreign Policy, n.,


                                     23
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 24 of 106 PageID:
                                    2736


  What all of this adds up to: in everyday English, what we mean
  by a country’s “foreign policy” is its approach to other
  countries.
                                *     *     *
  Now kick the tires on this reading by breaking up “foreign
  policy” into its component parts.
  Start from the back end. “Policy” means “[a] principle or
  course of action adopted or proposed as desirable, advantageous,
  or expedient; esp. one formally advocated by a government,
  political party, etc.” Policy, n., sense I.4, Oxford English
  Dictionary (2025); accord, e.g., Policy, n., sense 5.a, Merriam-
  Webster’s Unabridged Dictionary (2025); Policy, n., New Oxford
  American Dictionary (3d ed. 2015).26
  As to “foreign,” that means “[d]ealing with matters concerning
  other countries[.]” Foreign, adj., sense II.9.a, Oxford English
  Dictionary (2022); accord, e.g., Foreign, adj., sense 5,
  Merriam-Webster’s Unabridged Dictionary (2025) (“related to or
  dealing with other nations”); Foreign, adj., sense 3, Brittanica
  Dictionary (2025) (“relating to or dealing with other nations”);
  Foreign, adj., sense 1, New Oxford American Dictionary (3d ed.
  2015) (“dealing with or relating to other countries”).27


  Merriam-Webster’s Collegiate Dictionary 456 (10th ed. 1993)
  (“the policy of a sovereign state in its interaction with other
  sovereign states”); Foreign Policy, n., American Heritage
  Dictionary of the English Language (3d ed. 1992) (“The
  diplomatic policy of a nation in its interactions with other
  nations.”).
  26 Somewhat older definitions, see footnote 24, run along the
  same lines. See Policy, n., sense 5, Oxford English Dictionary
  (1989); Policy, n., sense 2, Webster’s Encyclopedic Unabridged
  Dictionary of the English Language 1113 (1989).
  27 Again, definitions from around 1990 point in the same
  direction. See, e.g., Foreign, adj., sense 4, New Merriam-
  Webster Dictionary for Large Print Users 352 (1989) (“related to
  or dealing with other nations”); Foreign, sense 10, VI Oxford
  English Dictionary 52 (1989) (“Dealing with matters concerning
  other countries.”); Foreign, adj., sense 5, New Penguin English
  Dictionary 364 (1986) (“of, concerned with, or dealing with
  other nations”).

                                     24
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 25 of 106 PageID:
                                    2737


                                *     *     *
  Bottom line: a country’s “foreign policy” is the course of
  action it takes as to other countries.
  That is true to how the words land on people’s ears today, and
  also to how they were understood when Section 1227 was passed in
  1990.
  And the above definition makes sense whether “foreign policy” is
  scrutinized as a whole, or if it is understood based on the
  meaning of its parts, “foreign” and “policy.”

        B.   Other Countries

  Section 1227 can come into play only when a person has a severe
  negative impact (“compromise[s]”) on an especially important
  (“compelling”) American “foreign policy interest” --- and that
  last phrase concerns the United States’ relations with other
  countries. See Part V.A.3.
  With this understanding in mind, is the Petitioner likely to win
  on the merits of his argument that Section 1227 is
  unconstitutionally vague as applied to the effort to remove him
  under the statute?
  The Court’s conclusion: yes.
  To see why, compare two things.
  First, what Section 1227 tells an “ordinary person” that he
  might be removed from the United States for.
  And second, what, per the Secretary of State’s determination,
  the Petitioner is to be removed for.28


  28 This Opinion and Order is solely concerned with what the
  Secretary of State determined. To get at why, note that when it
  comes to vagueness doctrine the Supreme Court has analogized
  removal cases like this one to criminal cases. See Dimaya, 584
  U.S. at 156–57 (citing Jordan, 341 U.S. at 229, 231). The
  Secretary’s determination is like a criminal indictment --- a
  formal instrument that tells someone what he allegedly did, and
  kicks off a legal process against him. In criminal cases in
  which there is a vagueness challenge, courts routinely anchor
  the analysis in the allegations of the indictment, at least
  early in the litigation, as here. See United States v.


                                     25
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 26 of 106 PageID:
                                    2738


                                *     *     *
  Congress empowered the Secretary of State to seek removal of
  foreign nationals if they compromise American “foreign policy”
  interests --- which here means a compromise to the United
  States’ relations with another country or countries.
  But the Secretary did not affirmatively determine that the
  Petitioner’s alleged conduct has impacted U.S. relations with
  other countries.
  Indeed, the Secretary’s determination29 says nothing about any
  country other than America.
  It also does not mention a region of the world that encompasses
  particular countries.
  And while it cites an executive order,30 the order does not
  mention any country other than America or any global region.
                                *     *     *



  Birbragher, 603 F.3d 478, 480–81 (8th Cir. 2010); United States
  v. Woznichak, 2023 WL 7324442, at *2 (W.D. Pa. Nov. 7, 2023);
  United States v. Auernheimer, 2012 WL 5389142, at *3 (D.N.J.
  Oct. 26, 2012), rev’d, 748 F.3d 525 (3d Cir. 2014); United
  States v. Gigante, 737 F. Supp. 292, 295 (D.N.J. 1990); see also
  Nat’l Dairy Prods. Corp., 372 U.S. at 32-33, 37; United States
  v. Stock, 728 F.3d 287, 299 (3d Cir. 2013). But cf. Peoples
  Rts. Org., Inc. v. City of Columbus, 152 F.3d 522, 530 (6th Cir.
  1998). Moreover, Congress specifically directed that in cases
  like this one, see Part IV, the Secretary would be required to
  make a personal determination. At this stage, looking to other
  information would be to skirt Congress’ choice. And it would
  also be to diminish the seriousness of the step the Secretary of
  State has himself taken and the respect it deserves; the
  Secretary of State has determined certain things but not others.
  All of this is consistent with where the Respondents are. They
  do not meaningfully argue against vagueness-as-applied based on
  information outside the Secretary’s determination. They do not
  provide such information. Quite the opposite. They are opposed
  to “peer[ing] behind,” Respondents’ Supplemental Brief at 14,
  the determination, and the Court does not do so here.
  29   Recall: it is at Appendix A, reproduced there in full.
  30   At Appendix B.

                                     26
Case 2:25-cv-01963-MEF-MAH   Document 272     Filed 05/28/25   Page 27 of 106 PageID:
                                    2739


  Would an ordinary person have a sense that he could be removed
  from the United States because he “compromise[d]” American
  “foreign policy interests” --- that is, because he compromised
  U.S. relations with other countries --- when the Secretary has
  not determined that his actions impacted U.S. relations with a
  foreign country?
  Probably not.
                                *      *       *
  And if Section 1227 “foreign policy” is read to allow removals
  for conduct not affirmatively determined by the Secretary to
  have impacted any foreign country, can the statute be said to
  “provide [an] explicit standard[]” that could prevent “arbitrary
  . . . enforcement”? Grayned, 408 U.S. at 108.
  Again, probably not.
  The reason is this: if a person can be removed without the
  Secretary determining that there is a “foreign policy” impact,
  an impact on U.S. relations with a foreign country --- then
  there is no “explicit standard,” id., left behind in Section
  1227.
  To see why, recall that Section 1227’s relevant provision is
  this: “compromise[s] a compelling . . . foreign policy
  interest.” See Part V.A.1.
  Each of these words limits the government’s enforcement power.
  “Compromise[s]” implies a serious impairment to “foreign
  policy,” not a slight one. “Compelling” points to an especially
  important “foreign policy interest,” not a minor one or a mid-
  sized one.
  These words constrain the Secretary’s Section 1227 power.
  But they do no independent work.          They are bundled together with
  “foreign policy.”
  What under the statute must be “compromise[d]”?              Foreign policy.
  What does “compelling” do?        It trims back on the kind of foreign
  policy that can count.
  What this adds up to: because the Secretary has not
  affirmatively determined here that there is a foreign policy
  impact, there is nothing left of the other constraints that
  Congress laid down in Section 1227.

                                       27
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 28 of 106 PageID:
                                    2740


  Congress required an especially strong impact (“compromise[s]”)
  on foreign policy. But that does not matter if what has been
  put on the table is not foreign policy.
  And Congress required that the foreign policy be an especially
  important one --- “compelling.” But that does not matter if the
  Secretary is not acting in relation to “foreign policy” in the
  first place.
  In short: a Section 1227 removal effort that is not based on a
  determination from the Secretary that there is a foreign policy
  impact is left fully standardless --- because without a “foreign
  policy” link there is nothing left of the standard
  (“compromise[s] a compelling . . . foreign policy interest”)
  that Congress laid down when it passed Section 1227. See
  Johnson, 576 U.S. at 595 (a law is vague when, among other
  things, it is “standardless”); Kolender, 461 U.S. at 358
  (similar); Goguen, 415 U.S. at 578 (a statute is vague when it
  “simply has no core”); Coates, 402 U.S. at 614 (a statute is
  vague when “no standard of conduct is supplied at all”); Giaccio
  v. Pennsylvania, 382 U.S. 399, 402 (1966) (similar).
                                *     *     *
  Lack of notice and “standardless” enforcement --- these tilt the
  scale in favor of the conclusion that the Petitioner is likely
  to succeed on the merits of his claim that Section 1227 is vague
  as applied to efforts to remove him via the Secretary of State’s
  determination.31
  To see the point from a different perspective, step back for a
  moment, starting just below.

             1.    “Want of Proper Words”

  It has long been the “the law of the land” that “no one [can] be
  taken by surprise” by having to “answer in court for what [he]




  31 Does this, on its own, move things all the way to the
  conclusion that the Petitioner is likely to succeed on the
  merits? There is no need to answer. There are other important
  things that weigh in the Petitioner’s direction. See Part V.C
  to Part V.F. How this case might look without those --- that is
  a separate question.
                                     28
Case 2:25-cv-01963-MEF-MAH   Document 272    Filed 05/28/25   Page 29 of 106 PageID:
                                    2741


  has not been warned to answer.” Goldington v. Bassingburn, Y.B.
  Trin. 3 Edw. II, f. 27b, 196 (1310).32
  But “surprise” can come from different directions.
  It can be a matter of “Uncertainty.” And it can also flow from
  “the Want of proper legal words.” 2 W. Hawkins, Pleas of the
  Crown, ch. 25, § 100, p. 245 (2d ed. 1724) (“[I]t seems to have
  been anciently the common Practice, where an Indictment appeared
  to be insufficient, either for its Uncertainty or the Want of
  proper legal words, not to put the defendant to answer it[.]”).
  The source of “surprise” just discussed is not mainly
  “Uncertainty.” Rather, it is “the Want of proper legal words.”
  This is explained just below.
                                *     *      *
  Surprise of the “Uncertainty” sort generally concerns the
  ambiguity of a key statutory term.33
  This is bread-and-butter vagueness doctrine, and the classic
  example comes from English legal history.
  A statute made it a crime to steal “cattle.” And “cattle” used
  to include a broader group of animals than it does today. See
  Dimaya, 584 U.S. at 178 (Gorsuch, J., concurring). Did the word
  also cover snatching an ox or a lamb? See 1 William Blackstone,
  Commentaries *88 (discussing this example). It was unclear, “so
  the court treated the term ‘cattle’ as a nullity.” Dimaya, 584
  U.S. at 178 (Gorsuch, J., concurring) (describing this statute).
  Along these lines, think of a case like Connally v. General
  Construction Co., 269 U.S. 385 (1926).


  32 Goldington’s “law of the land,” invokes the Magna Carta, and
  the Supreme Court has said that “[t]he words, ‘due process of
  law’ [in the Constitution] were undoubtedly intended to convey
  the same meaning as the words, ‘by the law of the land,’ in
  Magna Charta.” Den ex dem. Murray v. Hoboken Land & Improvement
  Co., 59 U.S. 272, 276 (1855). In turn, the Constitution’s Due
  Process Clause is the source of contemporary vagueness doctrine.
  See Beckles, 580 U.S. at 262; Johnson, 576 U.S. at 598;
  Williams, 553 U.S. at 304.
  33 “Generally,” but not always.         Another kind of “surprise” is
  the subject of Part V.E.

                                     29
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 30 of 106 PageID:
                                    2742


  There, the Supreme Court held there was too much vagueness in a
  law that required employers to pay the wage that prevailed “in
  the locality where the work is performed.” See id. at 388. The
  law was ambiguous. It was not clear which places might make up
  “the locality.”
             Who can say, with any degree of accuracy,
             what areas constitute the locality where a
             given piece of work is being done? Two men,
             moving in any direction from the place of
             operations, would not be at all likely to
             agree upon the point where they had passed
             the boundary which separated the locality of
             that work from the next locality.
  Id. at 394.
                                *     *     *
  The kind of surprise that is relevant for now is not
  “Uncertainty.” It is a “Want of proper legal words.”
  “Want of proper legal words” happens when the problem is not
  ambiguity.
  The language in a statute might provide sufficient and clear
  notice. And it might appropriately constrain government action.
  But when the statute has virtually nothing to do with the case
  at hand, its language cannot do its work.
  An ox may or may not count as cattle.         That is an
  “[u]ncertainty” case.
  But everyone knows that a teapot is not cattle. When a teapot
  is stolen, the statute simply cannot apply, and not by a long
  shot.
  The statute does not provide notice to those who might steal
  teapots. And because the statute does not give the government
  power to take on teapot cases, it does not supply a standard to
  apply in such cases, either.
  That is a “Want of proper legal words”-type situation.
  As to this category, think of a case like Rabe v. Washington,
  405 U.S. 313 (1972).
  There, the Supreme Court struck down on vagueness grounds a
  conviction for screening an obscene movie. Why? Because the

                                     30
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 31 of 106 PageID:
                                    2743


  conclusion that the movie was obscene was based on its “context”
  --- and that idea was nowhere to be found in the statute.
             To avoid the constitutional vice of
             vagueness, it is necessary, at a minimum,
             that a statute give fair notice that certain
             conduct is proscribed. The [Washington]
             statute under which petitioner was
             prosecuted, however, made no mention that
             the ‘context’ or location of the exhibition
             was an element of the offense . . . .
             Petitioner’s conviction was thus affirmed
             under a statute with a meaning quite
             different from the one he was charged with
             violating.
             It is as much a violation of due process to
             send an accused to prison following
             conviction of a charge on which he was never
             tried as it would be to convict him upon a
             charge that was never made.
  Id. at 315 (cleaned up); see also, e.g., Bouie v. City of
  Columbia, 378 U.S. 347, 351-56 (1964).
                                *     *     *
  Come back now to Section 1227, and to this case.
  Section 1227 allows for removal of a person who the Secretary of
  State determines is negatively impacting American foreign policy
  --- that is, the United States’ relations with other countries.
  But the Secretary of State has not made that determination here.
  His determination says nothing about foreign countries. Not
  explicitly. And not implicitly, either. There is no suggestion
  in the Secretary’s determination that U.S. relations with other
  countries have been impacted by the Petitioner’s conduct.
  This is a dramatic misfit, a “Want of proper legal words.”
  Hawkins, Pleas of the Crown p. 245.
  As to the law’s concern with notice: how could an “ordinary
  person” have known that Section 1227 might be used in this
  circumstance?
  And as to the law’s concern with enforcement discretion: how
  could the Secretary, who needed under Section 1227 to determine
  that U.S. relations with other countries were being impacted,

                                     31
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 32 of 106 PageID:
                                    2744


  use Section 1227 without making that determination? And once he
  did, what legislative standard was left behind to guide his
  discretion?

             2.    Domestic Impact

  Before moving on, consider a narrow point.
  The Secretary of State’s determination says that some of the
  Petitioner’s activities had a domestic impact. See
  Determination at 2.
  To the extent inside–the–United-States conduct by the Petitioner
  was determined by the Secretary to have had only inside–the–
  United-States consequences, there is an added reason, beyond
  what has been discussed above, to think Section 1227 is vague as
  applied to that particular subset of the Petitioner’s
  activities.
  Take the point up here.
                                *     *     *
  Recall that the Secretary’s determination described only
  activities undertaken by the Petitioner in the United States.
  See id. at 2 (describing “participation and role[] . . . in
  antisemitic protests and disruptive activities,” and the
  Petitioner’s “public actions . . . in the United States”).
  And recall that some of the effects of these activities, per the
  Secretary, were felt in the United States. See id. (the
  Petitioner’s activities “foster[] a hostile environment for
  Jewish students in the United States”); id. (the Petitioner’s
  “continued presence . . . in the United States undermine[s] U.S.
  policy to combat anti-Semitism . . . in the United States, in
  addition to efforts to protect Jewish students from harassment
  and violence in the United States”).
  But protecting students “in the United States” is a domestic
  concern, not a “foreign policy” concern.
  And foreign and domestic are understood to be distinct.
  Therefore, to an ordinary person, giving the Secretary power
  over a “foreign policy” impact is not the same as also giving
  the Secretary power over domestic conduct to the extent it had
  only a domestic impact.
                                *     *     *

                                     32
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 33 of 106 PageID:
                                    2745


  To see the point, start with the words.
  “Foreign” is often marked down as the opposite of “domestic.”
  See Foreign, adj., sense 1, Merriam-Webster.com Thesaurus
  (2025); Foreign, adj., sense 1, Merriam-Webster’s Collegiate
  Thesaurus (2025); Foreign, adj., sense 1, Collins English
  Thesaurus (2025); Foreign, adj., sense 1, Pocket Oxford American
  Thesaurus (2012); cf. Domestic, adj., Cambridge English
  Thesaurus (2025) (listing “foreign” as an antonym).
  And “domestic” is usually taken to mean “[e]xisting, occurring,
  or produced inside a particular region or country; not foreign
  or international.” Domestic, adj., sense 4, Oxford English
  Dictionary (2023) (emphasis added); see also, e.g., Domestic,
  adj., sense 3, Merriam-Webster Unabridged Dictionary (2025)
  (“relating and limited to one’s own country or the country under
  consideration or its internal affairs and interests”); Domestic,
  adj., Cambridge English Dictionary (2025) (“relating to a
  person’s own country”); Domestic, adj., sense 1, Collins English
  Dictionary (2025) (“political activities, events, and situations
  [that] happen or exist within one particular country”);
  Domestic, adj., sense 4, American Heritage Dictionary of the
  English Language (5th ed. 2022) (“[o]f or relating to a
  country’s internal affairs”).34
  In keeping with these understandings, Supreme Court opinions
  have often assumed that foreign concerns and domestic concerns
  are distinct.35


  34 Older dictionaries, see footnote 24, dredge up the same basic
  meanings. See, e.g., Foreign, Collins English Dictionary &
  Thesaurus 443 (1993) (listing “domestic” as an antonym);
  Domestic, adj., sense 3.a, Oxford English Dictionary (1989) (“Of
  or pertaining to one’s own country or nation; not foreign,
  internal, inland, ‘home’.”); Domestic, adj., sense 4, Webster’s
  Encyclopedic Unabridged Dictionary of the English Language 424
  (1989) (“of or pertaining to one’s own or a particular country
  as apart from other countries”).
  35 See, e.g., Fleming v. Page, 50 U.S. 603, 606 (1850) (“A
  foreign country is one exclusively within the sovereignty of a
  foreign nation, and without the sovereignty of the United
  States. This is the well-settled meaning of the word ‘foreign,’
  in acts of Congress.”); Cherokee Nation v. Georgia, 30 U.S. (5
  Pet.) 1, 16 (1831) (Marshall, C.J.) (“In the general, nations


                                     33
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 34 of 106 PageID:
                                    2746


  And this is no artifact of legal culture, a way of thinking that
  is particular to lawyers or judges. Not at all. Virtually
  everyone treats foreign and domestic as contrast points (if not
  opposites).
  One way to see this: by looking to newspaper articles36 for the
  two or three months before the Petitioner’s arrest. These
  overwhelmingly show that foreign and domestic are generally
  taken as separate (and indeed as contrasts).37


  not owing a common allegiance are foreign to each other.”); see
  also, e.g., Haaland v. Brackeen, 599 U.S. 255, 274 (2023);
  Medellin v. Texas, 552 U.S. 491, 564 (2008) (Breyer, J.,
  dissenting); United States v. Lara, 541 U.S. 193, 201 (2004);
  Kent v. Dulles, 357 U.S. 116, 127 (1958); Joint Anti-Fascist
  Refugee Comm. v. McGrath, 341 U.S. 123, 176 (1951) (Douglas, J.,
  concurring); United States v. Pink, 315 U.S. 203, 233 (1942)
  (“No State can rewrite our foreign policy to conform to its own
  domestic policies.”); see also William Blackstone, Commentaries
  *66 (contrasting “foreign emergencies” with “domestic
  discontents”); The Federalist No. 3 (John Jay) (differentiating
  between “dangers from foreign arms and influence . . . [and]
  dangers of the like kind arising from domestic causes”) (cleaned
  up).
  36 Notice to an ordinary person can be supplied by a look to
  “common usage.” United States v. Tykarsky, 446 F.3d 458, 473
  (3d Cir. 2006); accord, e.g., Kovacs v. Cooper, 336 U.S. 77
  (1959) (considering the “daily use” of certain words); Sproles
  v. Binford, 286 U.S. 374, 393 (1932) (invoking “common usage and
  understanding”); Mahler, 264 U.S. at 40 (citing “common
  understanding” that gives words “the quality of a recognized
  standard”). In keeping with this, the Third Circuit has
  scrutinized newspaper articles in the vagueness context to get a
  sense of the notice that a statute might provide to an “ordinary
  person.” See United States v. Blake, 288 F. App’x 791, 794-95
  (3d Cir. 2008). Moreover, “analyzing ‘how particular
  combinations of words are used in a vast database of English
  prose’ can shed light on how ordinary people understand
  statutory terms.” Delligatti v. United States, 145 S. Ct. 797,
  813 (2025) (Gorsuch, J., dissenting) (emphasis added) (quoting
  Facebook, Inc. v. Duguid, 592 U.S. 395, 412 (2021) (Alito, J.,
  concurring in judgment)). Newspapers can provide that database.
  37 See, e.g., Tom O’Connor, Trump Takes on Xi and Putin at their
  Own Great Power Game, Newsweek, Mar. 7, 2025 (contrasting


                                     34
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 35 of 106 PageID:
                                    2747


  And it is presumably because the statute’s reference to foreign
  policy is indeed about foreign affairs, not domestic ones, that
  it is the Secretary of State who has an important role to play
  in Section 1227 removals.
  After all, the State Department’s business is not domestic
  matters, but foreign ones. The State Department “exists to
  assist the President . . . in formulating and executing []
  foreign policy.” 1 Foreign Affairs Manual 011.2; accord, e.g.,
  Kumar v. Republic of Sudan, 880 F.3d 144, 157 (4th Cir. 2018);
  Thomas v. Baker, 925 F.2d 1523, 1524 (D.C. Cir. 1991); United
  States v. Green, 671 F.2d 46, 51 n.7 (1st Cir. 1982); see also
  22 U.S.C. § 2656 (“The Secretary of State shall perform such
  duties as shall from time to time be . . . intrusted to him by
  the President relative . . . to such . . . matters respecting


  foreign and domestic); Ross Douthat, Trump and Vance are
  Stripping Away Foreign Policy Illusions, N.Y. Times, Mar. 1,
  2025 (same); Daniel Bush, Donald Trump Has Promised a “Golden
  Age” for the US. Can He Deliver?, Newsweek, Feb. 7, 2025
  (same); Shane Brennan, Biden’s Long, Unique Legacy, News
  Journal, Jan. 19, 2025, at A.9 (same); Francesca Chambers, Biden
  Argues US Stronger on World Stage: President Uses Farewell
  Speeches to Define Legacy, USA Today, Jan. 14, 2025 (same);
  Stuart E. Eizenstat, Jimmy Carter’s Underrated Legacy: A Strong,
  Ethical America and a More Peaceful World, USA Today, Dec. 29,
  2024 (same). For articles that take the same approach from when
  Section 1227 became law through to the present, see, for
  example: George F. Will, The ‘Better Off’ Diversion: A Kerry Win
  Might Not Mean Marked Changes in Either Domestic or Foreign
  Policy, Pitt. Post-Gazette, July 12, 2004, at A.13; Patrick
  Healy & Susan Milligan, Kerry Calls Bush’s Domestic, Foreign
  Policies ‘Extreme’, Bos. Globe, Feb. 8, 2004, at A.20; David M.
  Shribman, Democrats Turn to Foreign Policy, Bos. Globe, Aug. 14,
  2001, at A.3; David S. Broder, Needed: A Voice for Foreign
  Policy, Record, Nov. 25, 1996, at A12; Michael Remez, Foreign
  Policy Takes Back Seat in Presidential Campaign, Hartford
  Courant, Oct. 28, 1996 at A.1; John F. Harris, Clinton Learning
  Foreign Policy Can Be Fun Shifts His Focus from Domestic Issues,
  Record, Dec. 15, 1995, at A18; Richard Benedetto, Bush Goes to
  China; Criticizes Clinton’s Domestic, Foreign Policies, USA
  Today, Jan. 12, 1994, at 08A; Johanna Neuman, Economy Takes
  Front Seat to Foreign Policy, USA Today, Nov. 6, 1992, at 03A;
  Jonathan Schell, Foreign Policy --- Who Needs It?, Newsday,
  Sept. 26, 1991, at 117.

                                     35
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 36 of 106 PageID:
                                    2748


  foreign affairs as the President of the United States shall
  assign to the [State] Department[.]”).38
                                *     *     *


  38 Immigration law straddles the foreign–domestic line. But
  that does not blur away the normal foreign-versus-domestic
  distinction. Take the Administrative Procedure Act. Under it,
  proposed rules must usually wait out a notice-and-comment
  period. See 5 U.S.C. § 553. But not rules that involve a
  “foreign affairs function of the United States.”
  Id. § 553(a)(1). Do all immigration-related rules involve a
  “foreign affairs function”? No. “For the exception to apply,
  the public rulemaking provisions should provoke definitely
  undesirable international consequences.” Yassini v. Crosland,
  618 F.2d 1356, 1360 n.4 (9th Cir. 1980) (citing S. Rep. No. 752,
  79th Cong., 1st Sess. 13 (1945)); accord City of N.Y. v.
  Permanent Mission of India to U.N., 618 F.3d 172, 202 (2d Cir.
  2010); Hou Ching Chow v. Att’y Gen., 362 F. Supp. 1288, 1290
  (D.D.C. 1973). And look to 8 U.S.C. § 1182(f) --- which lets
  the President limit the entry of foreign nationals when he finds
  their arrival “would be detrimental to the interests of the
  United States.” What “interests”? In Trump v. Hawaii, 585 U.S.
  667 (2018), the President invoked Section 1182(f), see id. at
  675, and the Supreme Court noted that his “stated objective” was
  “to protect the country and improve vetting processes.” Id. at
  704–05. And this was not the first time, the Court noted, that
  a President had suspended entry “to retaliate for conduct by
  [foreigners’] governments that conflicted with U.S. foreign
  policy interests.” Id. at 693. In light of the international
  interests invoked, the Court ruled that the President’s
  invocation of Section 1182(f) passed muster. See id. at 711.
  Contrast that with Doe #1 v. Trump, 957 F.3d 1050 (9th Cir.
  2020). There, the President invoked Section 1182(f) to restrict
  particular foreign nationals from entering the country without
  certain health insurance. See id. at 1056, 1065. Foreign
  policy interests were not on the table. See id. at 1067.
  Rather, the focus was healthcare costs, “a purely domestic
  economic issue.” Id. at 1067. This interest, per the court of
  appeals, was likely outside the “traditional spheres authorized
  by § 1182(f)” --- “international affairs and national security.”
  Id. at 1067. Therefore, the President was unlikely to “succeed
  in [hi]s broad reliance on § 1182(f).” Id. at 1067. In sum:
  immigration law holds the line between foreign and domestic;
  courts have refused to conflate the two, under both the APA and
  Section 1182(f).

                                     36
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 37 of 106 PageID:
                                    2749


  Bottom line as to the narrow point covered in this section:
  To the extent the Secretary determined that any domestic conduct
  had only a domestic impact, there is an additional reason to
  think Section 1227 is vague as applied to that particular
  conduct.
  A statute that empowers the Secretary only when it comes to
  impacts on foreign policy does not also empower him as to
  impacts on purely domestic matters.39
  Using Section 1227 in that circumstance undermines notice. And
  it makes it impossible to say the Secretary is acting in accord
  with an “explicit standard,” Grayned, 408 U.S. at 108, laid down
  by Congress.

        C.   In Comparison

  Where things stand.
  Under Section 1227, a person can be removed if the Secretary of
  State determines he is negatively impacting U.S. relations with
  a foreign country or countries. See Part V.A.3.
  But the Secretary did not make that determination here.
  His determination does not say whether the Petitioner’s conduct
  affected U.S. relations with any other country. See id.
  An ordinary person would have had no real inkling that a Section
  1227 removal could go forward in this way --- without the
  Secretary first determining that there has been an impact on
  American relations with another country. See Part V.B.
  And using Section 1227 like this is to use it without reference
  to the only “explicit standard,” Grayned, 408 U.S. at 108, laid



  39 See Amy Coney Barrett, Congressional Insiders & Outsiders, 84
  U. Chi. L. Rev. 2193, 2197 n.12 (2017) (noting that under the
  canon of expressio unius, “the inclusion of specific terms
  signifies the exclusion of others”); see, e.g., Tucker v.
  Alexandroff, 183 U.S. 424, 436 (1902) (applying that canon; see
  also Bittner v. United States, 598 U.S. 85, 94 (2023) (same).
  And the point is stronger yet given the gulf that is generally
  taken to exist between “foreign” and “domestic,” as described
  above.

                                     37
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 38 of 106 PageID:
                                    2750


  down by Congress --- the linchpin of which is a link to foreign
  policy. See id.
                                *     *     *
  There is another vagueness problem here, too.
  Namely, Section 1227 is markedly vaguer than a number of
  statutes the Supreme Court has struck down over the years on
  vagueness grounds, see Part V.C.1 --- and the Respondents’
  counterargument on this point is not persuasive. See Part
  V.C.2.
  Move through these points now, and then in Part V.C.3 consider
  their implications for this case.

             1.    Precedent

  As discussed, see Part V.A.1, Section 1227’s key operative term
  is “foreign policy.”
  The statute’s reliance on that term makes Section 1227 more
  vague than other statutes the Supreme Court has struck down.
  Apples-to-apples comparisons do not work smoothly in this area.
  This is because each statute covers a different subject area.
  And each uses different words.
  But the pattern is clear.     A few examples make the point.40

                   a)   Kolender

  The stepping-off point: Kolender v. Lawson, 461 U.S. 352 (1983).
  The statute there required anyone loitering in certain
  circumstances to hand over identification. See id. at 353. The
  statute was attacked as facially unconstitutional. See id. at

  40 Recall here that how vague a law can be depends on the kind
  of law it is. See generally Part III. Civil laws that deal
  mainly with economic matters do not get especially rigorous
  scrutiny. Criminal laws, though, come in for a much harder
  look. (And a key point: immigration laws like Section 1227 get
  the same treatment as criminal laws. See Dimaya, 584 U.S. at
  156–57 (citing Jordan, 341 U.S. at 229, 231).) There is also
  another level up. As to statutes that touch on First Amendment-
  protected rights, vagueness review is at its most exacting.
  First Amendment issues are taken up in Part V.F.

                                     38
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 39 of 106 PageID:
                                    2751


  355. Why? Because it required the ID to be “credible and
  reliable,” and, per the Supreme Court, that was vague. See id.
  at 353–54.
  Standing alone, “credible and reliable” is about as vague as
  “compelling foreign policy interest.”
  Can an out-of-town water bill count?       What about a new credit
  card? How about both together?
  Does America have a compelling foreign policy interest in
  working with Colombia to prevent narcotics trafficking or in
  working with Syria to eliminate chemical weapons stockpiles?
  What about in helping Egypt to preserve antiquities? Preventing
  poaching in Kenya? What about disincentivizing poor working
  conditions at garment factories in Bangladesh? What about
  preserving security there?
  In Kolender, the face of the statute was not the end of the
  story.
  A previous judicial decision had narrowed down the law. Per a
  state appeals court, “credible and reliable” “meant
  identification ‘carrying reasonable assurance that the
  identification is authentic and providing means for later
  getting in touch with the person who has identified himself.’”
  Id. at 357 (quoting People v. Solomon, 33 Cal. App. 3d 429, 438
  (Cal. Ct. App. 1973)).
  That interpretation arguably seemed to provide the harder-edged
  standard that was missing from the statute’s text. See id. at
  373 (White, J., dissenting).
  But no matter, the Supreme Court held.
  Even as interpreted, the Court explained, “the statute vests
  virtually complete discretion in the hands of the police.” Id.
  at 358.
  And this even though there was another constraint built into the
  law: police officers were allowed to ask for identification only
  in “circumstances that would justify a stop under the standards
  of Terry v. Ohio, 392 U.S. 1 (1968).” Id. at 353.
  Nonetheless, the statute was struck down by the Supreme Court as
  unconstitutionally vague, invalid on its face. See id. at 361.
  In short: the statute in Kolender was roughly as vague as
  Section 1227. But it did not clear the bar. Even though it had

                                     39
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 40 of 106 PageID:
                                    2752


  been interpreted and pared back by a prior court decision ---
  but there is none here. And even though government discretion
  was tied down to the dense body of rules developed under Terry.
  Again, nothing like that here.

                   b)   Akron

  Move to City of Akron v. Akron Center for Reproductive Health,
  Inc., 462 U.S. 416 (1983).
  Per an Akron ordinance, doctors performing abortions had to
  “[e]nsure that the remains of the unborn child are disposed of
  in a humane and sanitary manner.” Id. at 451.
  The doctors challenged “humane” as unconstitutionally vague, see
  id. at 451–52, and the Court agreed --- striking down the
  statute.
  This was not surprising.      “Humane” is open-ended.
  But some years before, a different federal court had upheld a
  “humane disposition” law against a vagueness attack in light of
  the state’s representation that the law aimed “to preclude the
  mindless dumping of aborted fetuses on garbage piles.” See id.
  at 451 (citing Planned Parenthood Ass’n v. Fitzpatrick, 401 F.
  Supp. 554, 573 (E.D. Pa. 1975), aff’d sub nom. Franklin v.
  Fitzpatrick, 428 U.S. 901 (1976)); see also id. at 475
  (O’Connor, J., dissenting).
  At the Supreme Court, Akron tried to lean on this same
  representation. See id. at 474–75 (O’Connor, J., dissenting).
  But that did not do the trick, and the Supreme Court struck down
  the law as too vague. See id. at 452 (majority opinion).

                   c)   Cramp

  Take a final case, Cramp v. Board of Public Instruction of
  Orange County, 368 U.S. 278 (1961).
  A Florida law required every state employee to swear “he has
  never lent his ‘aid, support, advice, counsel or influence to
  the Communist Party.’” Id. at 279.
  A teacher sued, claiming the state law was void for vagueness.
  See id. at 280, 283.
  The law left plenty of room for guesswork.


                                     40
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 41 of 106 PageID:
                                    2753


  The Supreme Court asked: “[c]ould a lawyer who had ever
  represented the Communist Party or its members swear with either
  confidence or honesty that he had never knowingly lent his
  ‘counsel’ to the Party?” Id. at 286.
  The statute did not say, and the Court held the law
  unconstitutionally vague. See id. at 280, 288.
  But the Florida law was less vague than Section 1227.
  Pushing back on communism was an unmissable American foreign
  policy interest when the Supreme Court reached its decision.
  See, e.g., 22 U.S.C. § 2370(h) (banning “aid” to communist
  countries when against “the best interests of the United
  States”); Communist Party of U.S. v. Subversive Activities
  Control Bd., 367 U.S. 1, 93–96 (1961).
  And the Florida law honed in on that interest, and just that
  interest, in a single, clear way --- by requiring an oath.
  Now see the contrast.
  Section 1227 catches within its net not just one U.S. foreign
  policy interest, but large numbers of them. Anything that can
  be chalked up as “compelling.”
  And it protects those interests not by forbidding a specific and
  knowable action, like refusing to take an oath.
  Rather, it does so in an opaque and catch-all way --- by
  reaching anything that “compromise[s]” those interests, however
  a “compromise” might happen.
  Moreover, the law is much more forgiving of vagueness in a
  statute that includes a mens rea requirement. The thinking is
  that if a statute requires a person to know she is acting
  intentionally, then it may matter less that the law is somewhat
  unclear. See, e.g., Loy, 237 F.3d at 265 (collecting cases).
  The Florida law, as construed by the Florida Supreme Court, had
  a mens rea requirement. See id. at 285 (citing Cramp v. Bd. of
  Pub. Instruction of Orange Cnty., 125 So. 2d 554, 557 (Fla.
  1960)).
  But Section 1227 does not have one. A person can be removed
  from the United States for compromising a compelling foreign
  policy interest. Even if he does not aim to. And even if he
  does not know that he has done so.


                                     41
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 42 of 106 PageID:
                                    2754


  To be sure, it might be said, the Florida law implicated First
  Amendment issues.
  It required state employees to swear an oath. Compelled speech
  is a classic First Amendment concern. See Janus v. Am. Fed’n of
  State, Cnty., & Mun. Emps., Council 31, 585 U.S. 878, 892
  (2018); W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642
  (1943). And for purposes of vagueness law, statutes that put
  pressure on free speech are held to a higher standard. See Part
  III.
  But that is no distinction from this case.
  Here, the Petitioner protested, see Determination at 2 --- and
  the Secretary’s determination relied on the part of Section 1227
  that kicks in only when removal is sought based on “beliefs,
  statements, or associations” that are “lawful.” See id. at 1–2
  (tracking the text of Section 1182(a)(3)(C)).
                                *     *     *
  In short:
  The Secretary’s determination does not say what Section 1227
  requires. The Secretary did not affirmatively determine that
  the Petitioner’s conduct has affected U.S. relations with other
  countries.
  This undermines notice. It leaves enforcement standardless.
  And it weighs in favor of the conclusion that Section 1227 is
  unconstitutionally vague as applied here. See Part V.B.
  That conclusion is strengthened by comparing Section 1227 to the
  laws struck down by the Supreme Court in Kolender, Akron, and
  Cramp --- which suggest that Section 1227 already starts off on
  its back foot, hovering close to the line that separates what is
  constitutional from what is not.

              2.   The Counterargument

  The Respondents see things differently.
  Section 1227, they contend, “is plainly more definite than other
  provisions that the Supreme Court has upheld against vagueness
  challenges.” See Respondents’ Supplemental Brief at 7–8
  (emphasis in original).
  But they do not take on any of the cases discussed above.


                                     42
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 43 of 106 PageID:
                                    2755


  And in any event, the Respondents’ argument does not work.              To
  see why, tick through the cases they cite.
                                *     *     *
  First, Jordan v. De George, 341 U.S. 223 (1951).
  There, the Supreme Court rejected a vagueness challenge to a
  provision allowing the deportation of someone who had committed
  more than one “crime involving moral turpitude.” See id. at
  225, 229–32.
  That sounds vague.
  But its meaning was no mystery. “Moral turpitude” had been part
  of our immigration laws since 1891, during which time it had
  been construed by the Supreme Court. See id. at 229–30 & n.14.
  And other statutes used the same phrase. Those, too, had
  received judicial interpretation. See id. at 230. And no court
  in any context had held the phrase was too vague. See id.
  Moreover, as to the statute in the Jordan case, underlying due
  process concerns41 were plainly satisfied --- the “moral
  turpitude” provision was triggered only “after conviction and
  sentence of the requisite two crimes.” Id. “[T]he statute [as
  to moral turpitude] provided adequate notice, at least to the
  extent that if an alien behaved him or herself and did not
  violate the traditionally well-defined penal laws, the alien
  could rest assured that he or she would not be deported, at
  least under that statute.” Massieu, 915 F. Supp. at 700.
  This case is not like Jordan.
  No court, much less the Supreme Court, has construed Section
  1227.
  No court seems to have interpreted the Section 1227 language as
  it may appear in another obviously relevant statute.
  And the Petitioner has not been convicted of multiple crimes (or
  any crime) as a prerequisite for removal.
  Indeed, the Secretary is going forward under a determination
  that alludes to alleged criminal conduct by another person, but
  not the Petitioner. See Determination at 2. And moreover, the
  Secretary affirmatively suggests that the Petitioner’s


  41 Recall that the void-for-vagueness doctrine is rooted in the
  Due Process Clause. See footnote 32.
                                     43
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 44 of 106 PageID:
                                    2756


  underlying “beliefs, statements, or associations” are “lawful.”
  Id. at 1 (citing Section 1227).
                                *     *     *
  Second, the Respondents point to Mahler v. Eby, 264 U.S. 32
  (1924).
  That was a vagueness challenge to a law that provided for the
  deportation of noncitizens that the Secretary of Labor found to
  be “undesirable residents of the United States.” Id. at 36
  (cleaned up).
  The Supreme Court rejected the challenge.
  The Respondents take from Mahler that “the expression
  ‘undesirable residents of the United States’ is sufficiently
  definite to make the delegation quite within the power of
  Congress.” Respondents’ Supplemental Brief at 7 (quoting
  Mahler, 264 U.S. at 40) (cleaned up).
  The argument seems to run like this: if the Secretary of Labor
  can determine that someone is “undesirable” and secure their
  removal on that basis, then the Secretary of State should be
  able to determine that someone is compromising “compelling
  foreign policy interests” and have them removed for that.
  This argument sounds strong.
  But a look at the fuller Supreme Court excerpt shows that the
  “undesirable” standard did not stand alone, and in fact had been
  dramatically narrowed down and specified.
  The Respondents paste into their legal brief the part of Mahler
  the Court has underlined below. But they leave on the cutting-
  room floor everything else --- and those are the critical
  passages:
             [Congress] has established classes of
             persons who in its judgment constitute an
             eligible list for deportation, of whom the
             Secretary is directed to deport those he
             finds to be undesirable residents of this
             country. With the background of a declared
             policy of Congress to exclude aliens
             classified in great detail by their
             undesirable qualities in the Immigration Act
             of 1917, and in previous legislation of a
             similar character, we think the expression

                                     44
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 45 of 106 PageID:
                                    2757


             ‘undesirable residents of the United States’
             is sufficiently definite to make the
             delegation quite within the power of
             Congress.
  Mahler, 264 U.S. at 40 (emphasis added).
  What were the undesirable qualities that had been “classified”?
             The classes include all aliens interned as
             enemies by the President’s proclamation
             under R. S. § 4067 (Comp. St. § 7615) and
             alien convicts under the Espionage Act, the
             Explosives Act, the act restricting foreign
             travel, the Sabotage Act, the Selective
             Draft Act, the act punishing threats against
             the President, the Trading with the Enemy
             Act, and certain sections of the Penal Code.
  Id. at 36–37.
  These are hard-edged, public standards --- and “great[ly]
  detail[ed]” ones, id. at 40, as the Supreme Court put it. They
  dramatically reduced any vagueness otherwise inherent in the
  term “undesirable residents.”
  There is no persuasive way to analogize Mahler to this case.
  Section 1227, like the law in Mahler, starts off with broad
  language. But then in Mahler, a list of “great detail,” id.,
  came in to flesh things out. There is nothing like that list
  associated with Section 1227. No regulations, for example.
  To ignore the list, as the Respondents do, is to miss why the
  statute in Mahler passed muster --- and to miss, too, why
  Section 1227 is much vaguer than the law that was at issue in
  that case.
  And another point.
  One of the terms in Mahler, “undesirable residents,” had been
  used in American immigration law as far back as 1802. And so,
  per the Supreme Court in Mahler, “[o]ur history has created a
  common understanding of the words ‘undesirable residents’ which
  gives them the quality of a recognized standard.” Id.
  But again, that is not this case.
  No word in Section 1227 hauls along with it the built-up clarity
  of our common law. See Part V.A.2.

                                     45
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 46 of 106 PageID:
                                    2758


  Mahler is, simply, a long way off.        The analogy does not work.
                                *     *      *
  The Respondents’ third and final case is Boutilier v.
  Immigration & Naturalization Service, 387 U.S. 118 (1967).              See
  Respondents’ Supplemental Brief at 8.
  The Boutilier petitioner had been ordered deported under a law
  that made excludable those foreign nationals who had a
  “psychopathic personality,” which federal officials read to
  include gay men. See 387 U.S. at 118. The petitioner argued
  that this reading of the law was void for vagueness, see id. at
  119, but the Supreme Court disagreed.
  The Court explained why: “[t]he legislative history of the Act
  indicates beyond a shadow of a doubt that the Congress intended
  the phrase ‘psychopathic personality’ to include homosexuals
  such as petitioner.” Id. at 120.
  The Court went on to describe that clarifying history. See id.
  at 121–22. One example: a Senate report defined “‘psychopathic
  personality’ . . . to include homosexuals.” Id. at 121.
  Another data point: a report of the Public Health Service that
  buttressed the legislative history defined “psychopathic
  personality” to include homosexuality. See id. at 120.
  The legislative history of Section 1227 is a world away from all
  this.
  Far from specifying “beyond a shadow of a doubt” what might be
  meant by a “compelling . . . foreign policy interest,” Congress
  took the exact opposite tack --- indicating that it wanted to
  leave things open-textured and flexible, undefined.
  Per the State Department’s Legal Adviser in the run-up to the
  passage of Section 1227: “[w]e recognize that the revised
  standard leaves considerable discretion in the Executive branch.
  But we believe it is . . . inadvisable to be more precise[.]”
  Exclusion and Deportation of Aliens: Hearing Before the Subcomm.
  on Immigr., Refugees, and Int’l L. of the Comm. of the H. Comm.
  on the Judiciary, 100th Cong. 40 (1987) (“1987 Hearing”)
  (statement of Abraham D. Sofaer, Legal Adviser of the State
  Dep’t).
  And to the extent that legislative history is relevant here, it
  suggests, if anything, that the Secretary’s determination as to


                                     46
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 47 of 106 PageID:
                                    2759


  the Petitioner is out of step with the statute.            That is the
  subject of Part V.D.

             3.    Implications

  Where things stand.
  Section 1227, as applied here, appears to be a good deal vaguer
  than other statutes the Supreme Court has struck down for
  vagueness. See Part V.C.1.
  And the problem is not solved by the Respondents’ cited cases.
  See Part V.C.2.
  Is this the end of the road? Does the above require the
  conclusion that Section 1227, as applied, must simply be struck
  down?
  After all, the Supreme Court cases cited above, see Part V.C.1,
  were facial challenges, and this one is an as-applied challenge.
  A facial challenge traditionally attacks a statute as
  “impermissibly vague in all of its applications.” Hoffman
  Ests., 455 U.S. at 495 (emphasis added).
  And “[i]f a statute is vague in all its applications then it
  will necessarily be vague ‘as applied’ in every case.” United
  States v. Gaudreau, 860 F.2d 357, 361 (10th Cir. 1988) (emphasis
  added).
  If less vague statutes did not survive facial challenges in
  Kolender, Akron, and Cramp, can the vaguer Section 1227 survive
  the current as-applied challenge?
  The Court’s judgment: yes, it can.
  Take two reasons why.
                                  *   *     *
  First, the quote from the Supreme Court in Hoffman, just above,
  may no longer be good law.
  In Johnson, for example, the Court looked back on L. Cohen
  Grocery, a case in which a statute that barred “unjust and
  unreasonable” prices was voided as vague on its face.
  The Johnson Court asked: was the pricing statute really vague in
  all its applications? See 576 U.S. at 602. After all,
  “charging someone a thousand dollars for a pound of sugar would

                                      47
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 48 of 106 PageID:
                                    2760


  surely be unjust and unreasonable.”       Id. (interpreting L. Cohen
  Grocery) (emphasis added).
  But, the Johnson Court noted, that did not stop the Supreme
  Court in L. Cohen Grocery from striking down the pricing law on
  its face, as void for vagueness across the board. See id.
  Why not? Because per the Supreme Court in Johnson, a holding of
  facial vagueness need not mean that literally every application
  of a law is vague. See id. at 602-03.
  On this understanding, the fact that “a statute is vague in all
  its applications” does not “necessarily” suggest the statute
  will “be vague ‘as applied’ in every case.” Gaudreau, 860 F.2d
  at 361.
  And this means that the Supreme Court cases cited above ---
  Kolender, Akron, and Cramp --- do not require the conclusion
  that Section 1227 is vague as applied here, even as they push
  things a long way down the road in that direction.
                                *     *     *
  A second reason why Kolender, Akron, and Cramp do not strictly
  compel any conclusion here: those cases may be distinguishable,
  at least to an extent.
  Take two ways.
  When assessing a vagueness challenge, the Supreme Court has
  aimed to account for the sheer difficulty of crafting an
  appropriately tight law. Think of a disorderly conduct
  ordinance, for example.
             There are areas of human conduct where, by
             the nature of the problems presented,
             legislatures simply cannot establish
             standards with great precision. Control of
             the broad range of disorderly conduct that
             may inhibit a policeman in the performance
             of his official duties may be one such area,
             requiring as it does an on-the-spot
             assessment of the need to keep order.
  Goguen, 415 U.S. at 581; accord, e.g., Kolender, 461 U.S. at
  360-61; United States v. Petrillo, 322 U.S. 1, 7 (1947).




                                     48
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 49 of 106 PageID:
                                    2761


  Section 1227 looks like a backstop statute --- to be deployed
  rarely,42 and in situations where there is a gap between the
  formidable range of on-the-books immigration-law powers43 and the
  felt needs of an unforeseen case.
  Drafting a statute to cover these sorts of situations is
  intrinsically hard. See 1987 Hearing at 40-41 (“it is difficult
  . . . to be more precise”) (statement of Abraham D. Sofaer,
  Legal Adviser of the State Dep’t).
  And the drafting task was likely harder than anything that
  needed writing up in Kolender, Akron, or Cramp.
  Take now another possible distinction.
  Vagueness law’s concern with sharp delineation of government
  power is said to rest on the need to limit the possibility of
  arbitrary enforcement.
  That can result when a too-broad law gives de facto lawmaking
  power to many lower-level enforcement officials. See, e.g.,
  Davis, 588 U.S. at 451 (“Vague statutes threaten to hand
  responsibility for defining crimes to relatively unaccountable
  police, prosecutors, and judges, eroding the people’s ability to
  oversee the creation of the laws they are expected to abide.”);
  accord, e.g., Johnson, 576 U.S. at 595 (similar); Kolender, 461
  U.S. at 358 (similar).44


  42 See 1987 Hearing at 40-41 (statement of Abraham D. Sofaer,
  Legal Adviser of the State Dep’t) (suggesting this).
  43 See, e.g., 8 U.S.C. § 1227(a)(4)(B) (authorizing removal in
  cases involving terrorism); id. § 1227(a)(4)(E) (same, religious
  persecution); id. § 1227(a)(2)(A)(iii) (same, commission of
  aggravated felony); id. § 1227(a)(6)(B) (same, unlawful voting);
  id. § 1227(a)(6)(B) (same, public charge).
  44 The concern in this situation dovetails with the double
  difficulties associated with (a) a broadly written injunction
  that then (b) gives many different people a hand in enforcing
  it. See, e.g., Merch Traffic, LLC v. Does 1-100, 686 F. Supp.
  3d 380, 386 (D.N.J. 2023) (“Where . . . the injunction’s
  starting point is loose language, many interpreters . . . means
  many different interpretations. And many different
  interpretations multiplies the chances for uncertainty and
  confusion, along with the risk that the injunction will be


                                     49
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 50 of 106 PageID:
                                    2762


  But the Supreme Court has indicated there are also possible
  vagueness problems when a single senior official or a single
  official body is expected to make enforcement decisions without
  the benefit of a crisp legal standard from the legislature. See
  Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 71 (1963)
  (statewide commission); Mahler, 264 U.S. at 40 (Secretary of
  Labor); cf. Aptheker v. Sec’y of State, 378 U.S. 500 (1964)
  (Secretary of State).
  Is all relatively standardless enforcement to be treated in the
  same way? Is decentralized enforcement under a loose standard
  (as in Kolender, Akron, and Cramp) to be directly analogized,
  without doctrinal adjustment, to centralized enforcement under a
  loose standard (as in Bantam and Mahler --- and also as
  envisioned for the Secretary of State in Section 1227)?45
  These are complex questions, and they suggest that it would be
  too hasty to simply treat Kolender, Akron, and Cramp as
  compelling the outcome in this case.


  misunderstood in ways that sweep in people it should not.”)
  (cleaned up).
  45 Thinking this through might require wrestling with another
  set of questions. Namely, in its cabining-government-power
  prong, is vagueness doctrine concerned only with arbitrary
  enforcement, or is it also concerned with democratic
  accountability? And if vagueness doctrine is concerned with
  accountability (as some cases suggest, see, e.g., Davis, 588
  U.S. at 451), does that imply that it should be more forgiving
  of relatively looser standards when they are visibly
  administered only by a single, senior official? See Alexander
  Bickel, The Least Dangerous Branch: The Supreme Court at the Bar
  of Politics 151 (1962) (“A vague statute delegates to
  administrators, prosecutors, juries, and judges the authority of
  ad hoc decision, which is in its nature difficult if not
  impossible to hold to account, because of its narrow impact.”);
  cf. Dimaya, 584 U.S. at 182-83 (Gorsuch J., concurring);
  Memorandum from David J. Barron, Acting Assistant Att’y Gen.,
  Office of Legal Counsel, to Eric Holder, U.S. Att’y Gen.,
  Applicability of Federal Criminal Laws and the Constitution to
  Contemplated Lethal Operations Against Shaykh Anwar al-Aulaqi
  38-41 (July 16, 2010) (in a context that is far afield,
  implicitly suggesting that due process concerns may be lessened
  when “high-level” officials are the key decision-makers).

                                     50
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 51 of 106 PageID:
                                    2763


                                *     *     *
  In sum:
  Section 1227 as applied here is more vague than other statutes
  the Supreme Court has struck down, see Part V.C.1, but this does
  not end things. It weighs in favor of the conclusion that
  Section 1227 is vague as applied. But it does not require that
  conclusion.

        D.   History

  When it comes to vagueness, the Supreme Court and other federal
  courts have often looked to legislative history. See Part
  V.A.2.
  And in this case, the parties have affirmatively brought Section
  1227’s legislative history to the Court’s attention. See
  Petitioner’s Supplemental Brief at 18–19; Respondents’
  Supplemental Brief at 5–7.46

  Take up here Section 1227’s legislative history, see Part V.D.1,
  and then its enforcement history. See Part V.D.2.

  A quick preview of what they show:
  The legislative history generally suggests that Section 1227
  removal was intended for cases in which (a) the underlying
  conduct happened abroad or almost exclusively abroad, and (b) it
  was determined by the Secretary of State that the underlying
  conduct would have impacted U.S. relations with other countries.

  And the enforcement history shows Section 1227 has generally
  been used over the years in keeping with the legislative-history
  blueprint --- for removals based on conduct that took place
  entirely (or almost entirely) abroad, and that, per the
  Secretary, affected America’s relations with other countries.
  This case does not fit into those categories.



  46 And the Respondents have focused the Court on Boutilier v.
  INS, 387 U.S. 118 (1967), discussed above, in which the Supreme
  Court squinted hard at legislative history to resolve a
  vagueness challenge. See id. at 121–22 (citing S. Rep. No. 82-
  1137, at 9 (1952)).

                                     51
Case 2:25-cv-01963-MEF-MAH     Document 272   Filed 05/28/25   Page 52 of 106 PageID:
                                      2764


  As determined by the Secretary of State, all of the Petitioner’s
  conduct took place in the United States. See Determination at
  2. And the Secretary has not affirmatively determined that the
  Petitioner’s conduct impacted U.S. relations with any foreign
  country. See id.

  The takeaway: a further reduction in the likelihood that an
  “ordinary person” in the Petitioner’s position would have had a
  sense that Section 1227 might be used to seek to remove him.

             1.    Legislative History

                          a)    Its Role

  Ensuring that there are clear limits on the scope of government
  power is one of the bases for the vagueness doctrine. See Part
  III.

  And this is largely a matter of two things.

  First, understanding what the statute does and does not empower
  the government to do. And then second, asking the vagueness
  question --- how crisp is Congress’ command, and what sort of
  space does it leave behind for potentially arbitrary
  enforcement?

  The first part of the inquiry is mainly a matter of statutory
  interpretation. And as to that, legislative history can have a
  role to play only when the underlying statute is ambiguous.
  See, e.g., Bostock v. Clayton Cnty., 590 U.S. 644, 674 (2020).

  Here, the linchpin words in Section 1227 are “foreign policy.”
  The dictionary definitions of those words are essentially
  uniform. See Part V.A.3. The words are not ambiguous.

  Therefore, as to delineating the power that Section 1227 gives
  the Secretary, legislative history has no role.47

  But that is not the end of the matter.

  In addition to zeroing in on the limits to government power,
  vagueness doctrine also takes up notice questions. What would


  47   No role for now.      See footnote 68.

                                       52
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 53 of 106 PageID:
                                    2765


  an ordinary person take away from the law?         What would he or she
  be warned about as a practical matter?

  This sort of notice is a matter of what things mean in “the
  common mind.” McBoyle v. United States, 283 U.S. 25, 27 (1931);
  Mahler, 264 U.S. at 40 (“common understanding”); Kovacs v.
  Cooper, 336 U.S. 77 (1959) (“daily use”); Sproles v. Binford,
  286 U.S. 374, 393 (1932) (“common usage and understanding”).

  Getting at that often requires panning out, to consider the
  broader range of information that might inform the understanding
  of ordinary people. This can mean a look to newspaper articles,
  for example, see Blake, 288 F. App’x at 794-95, and to
  enforcement history. See Wyndham, 799 F.3d at 257-58 & nn.22-
  24. And it is hard to know why it should not also mean a look
  to legislative history.
  What this adds up to: the parties have each pointed the Court to
  Section 1227’s legislative history, and the Court refers to it
  here to shed light on the notice an ordinary person in the
  Petitioner’s position would have had.
  Now look to two parts of the legislative history.

                        b)    The Conference Report

  Start with the 1990 House Conference Report.48 See Petitioner’s
  Supplemental Brief at 18–19 (citing the Report); Respondents’
  Supplemental Brief at 7 (same).
  The Report was issued in the run-up to the passage of Section
  1227. See H.R. Rep. No. 101-955 (1990) (Conf. Rep.), as
  reprinted in 1990 U.S.C.C.A.N. 6784, 6794.




  48 A conference report “presents the formal legislative language
  on which the conference committee has agreed.” Christopher M.
  Davis, Cong. Rsch. Serv., R98-382, Conference Reports & Joint
  Explanatory Statements 1 (2015). Such reports are sometimes
  regarded as relatively more reliable sources of legislative
  history. See, e.g., Ry. Lab. Execs. Ass’n v. Interstate Com.
  Comm’n, 735 F.2d 691, 701 (2d Cir. 1984); Demby v. Schweiker,
  671 F.2d 507, 510 (D.C. Cir. 1981).

                                     53
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 54 of 106 PageID:
                                    2766


  When, per the Report, might Section 1227 be invoked?49
  The Report gave two examples.
  The first: Section 1227 might be brought to bear when there
  could be “imminent harm to the lives or property of United
  States persons abroad or to property of the United States
  government abroad (as occurred with the former Shah of Iran).”
  Id. at 6795.
  The reference to the Shah is apparently this: on October 29,
  1979, the Shah of Iran was admitted to the United States for
  medical treatment, and six days later scores of Americans were
  taken hostage in the storming of the United States Embassy in
  Tehran. See Mark Bowden, Guests of the Ayatollah (2006) at 5–6,
  19–20.
  By then, the Shah had ruled Iran for more than 35 years. He was
  not someone who undertook meaningful activities in the United
  States. He moved around in the last year of his life to a
  succession of countries for treatment, including Egypt, Morocco,
  the Bahamas, and Mexico. One of those countries was the United
  States.
  And the concern as to the Shah’s treatment was that it could
  have impacted “lives or property of United States persons
  abroad,” or “property of the United States government abroad.”
  See H.R. Rep. No. 101-955 (1990) (Conf. Rep.), as reprinted in
  1990 U.S.C.C.A.N. 6784, 6795 (emphasis added).
  Bottom line: per the Report’s first example, Section 1227 was to
  focus on conduct outside of the United States that involved a
  direct impact on U.S. relations with a foreign country, Iran.
  The Report’s second example: Section 1227 might be used when
  there “would [be a] viol[ation] [of] a treaty or international
  agreement to which the United States is a party.” Id.


  49 The Report discussed Section 1227 in the context of the
  decision to exclude a person from entering the United States,
  see H.R. Rep. No. 101-955, 1990 U.S.C.C.A.N. at 6794-95 --- not,
  as here, in the context of an effort to remove a person from the
  United States. No matter. Section 1227 makes clear that these
  are interchangeable. They are governed by the same standard.
  Compare 8 U.S.C. § 1227(a)(4)(C)(ii), with id.
  § 1182(a)(3)(C)(iii).

                                     54
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 55 of 106 PageID:
                                    2767


  As a general matter, treaties are externally focused, concerned
  with foreign matters, not domestic ones.50 See Medellin v.
  Texas, 552 U.S. 491, 505 (2008) (“A treaty is . . . primarily a
  compact between independent nations.”) (cleaned up); see also 3
  Debates in the Several State Conventions on the Adoption of the
  Federal Constitution (Jonathan Elliott ed., 1836) at 514
  (statement of James Madison: “The object of treaties is the
  regulation of intercourse with foreign nations, and is
  external.”); Treaties and Executive Agreements: Hearings on S.J.
  Res. 1 before a Subcomm. of the Sen. Comm. on the Judiciary,
  84th Cong. 183 (1955) (Secretary of State Dulles) (stating that
  treaties cannot regulate matters “which do not essentially
  affect the actions of nations in relation to international
  affairs, but are purely internal”).
  Treaties are overwhelmingly entered between the United States
  and other counties. See Medellin, 552 U.S. at 505; Washington
  v. Wash. State Com. Passenger Fishing Vessel Ass’n, 443 U.S.
  658, 675 (1979); Restatement (Fourth) of the Foreign Relations
  Law of the United States § 301 (2018); Phillip R. Trimble,
  International Law: United States Foreign Relations Law 129 (1st
  ed. 2002).
  And “viol[ating]” a treaty --- the Report’s stated concern ---
  would plainly impact U.S. relations with the country that was
  America’s treaty partner.51

  50 “As a general matter” because of some arguable drift during
  recent decades. Compare Restatement (Second) of the Foreign
  Relations Law of the United States § 117(1)(a) (1965) (stating
  that the Constitution’s treaty power can be put in play only if
  the subject matter of the treaty “is of international concern”),
  with Restatement (Third) of the Foreign Relations Law of the
  United States § 302, cmt. c (1987) (“Contrary to what was once
  suggested, the Constitution does not require that an
  international agreement deal only with ‘matters of international
  concern.’”).
  51 It is not crystal clear how a Section 1227 removal might
  prevent a treaty breach. But maybe the idea is that a country
  whose extradition request is not fulfilled by the United States
  would think of its extradition treaty as having been breached.
  On this understanding, Section 1227 might have been envisioned
  as working, in part, as a kind of back-up extradition-type
  mechanism, as when, for example, there is a failure of proof


                                     55
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 56 of 106 PageID:
                                    2768


  In short, the Report’s examples point in the same direction:
  Section 1227 was expected to be used in contexts in which the
  underlying conduct (a) took place mainly abroad, not inside the
  United States, and (b) was determined by the Secretary to impact
  U.S. relations with another country.

                   c)   The Prior Statute

  Look now to another piece of legislative history.
  Section 1227 became law in 1990, and the Respondents direct the
  Court to Section 1227’s pre-enactment history. See Respondents’
  Supplemental Brief at 6.
  That history is laid out here over the next page or two.
                                *     *     *
  A 1952 statute empowered the Secretary of State to order the
  removal of certain foreign nationals from the United States.
  See Immigration & Nationality Act of 1952, Pub. L. No. 82-
  414 § 241(a)(7), 66 Stat. 163, 206 (codified at 8 U.S.C.
  § 1251(a)(7)).
  This statute had “for years” been understood to reach foreign
  nationals who might generate “adverse foreign policy
  consequences” for the United States. See 1987 Hearing at 47
  (letter of Assistant Att’y Gen. John Bolton).
  The 1952 statute did not mention the words “foreign policy.”
  See Immigration & Nationality Act of 1952 §§ 212(a)(27)
  (exclusion), 241(a)(7) (deportation).
  Rather, per the 1952 statute, a foreign national could be
  removed if he “engage[d] in activities which would be
  prejudicial to the public interest . . . of the United States.”
  See id. §§ 212(a)(27) (exclusion), 241(a)(7) (deportation).


  before the American extradition court, and an extradition
  therefore does not go forward. That is how Section 1227 was
  used in Massieu v. Reno, 91 F.3d 416, 418–19 (3d Cir. 1996).
  (In terms of the location-of-the-underlying-conduct point, note
  that when the United States extradites a person to country X, it
  is virtually always for conduct that occurred in country X, not
  for conduct that took place in the United States. See, e.g.,
  Extradition Treaty, Mex.-U.S., art. 1(1), May 4, 1978, 31 U.S.T.
  5059.)

                                     56
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 57 of 106 PageID:
                                    2769


  That worked because “public interest” could be read to cover
  foreign policy concerns. See 1987 Hearing at 47 (letter of
  Assistant Att’y Gen. John Bolton) (describing the Department of
  Justice’s long-standing interpretation of the 1952 statue).
  But it did so by casting a wide net --- one so broad that it
  allowed the Secretary of State to act on foreign policy concerns
  and also based on purely domestic concerns.
  During the late 1980s, Attorney General Meese and Secretary of
  State Schultz gave a set of major speeches focused on changing
  immigration laws to pry open more space for free expression.
  See id. at 33 (statement of Abraham D. Sofaer, Legal Adviser of
  the State Dep’t) (describing the speeches).
  Citing these speeches, former Judge Sofaer, then the State
  Department Legal Adviser, testified for the Reagan
  administration that the foreign-and-domestic 1952 statute could
  be eliminated, provided that a replacement statute gave back to
  the Secretary of State the foreign policy-focused powers that he
  needed.
  Judge Sofaer’s testimony:
             We recognize . . . that the “public
             interest” standard is broad, and we are
             prepared to support replacing it with
             language that limits the grounds of
             exclusion to potentially serious foreign
             policy consequences. (The public interest
             standard also encompasses internal security
             cases, but we feel these are adequately
             handled under other sections of the law.)
             This narrowing of our authority is
             significant. . . . We recognize that the
             revised standard leaves considerable
             discretion in the Executive branch. But we
             believe it is difficult and inadvisable to
             be more precise in defining what
             cons[t]itutes a serious adverse foreign
             policy consequence. New crises and
             difficulties arise every day in our
             international relations, and we need some
             flexibility to deal with them.
  Id. at 40–41.


                                     57
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 58 of 106 PageID:
                                    2770


  The gist of Judge Sofaer’s testimony: the 1952 statute swept
  broadly and included powers to address both domestic
  (“internal”) concerns and also foreign policy concerns. Cf.,
  e.g., id. at 57-58 (testimony of then–INS Commissioner Alan
  Nelson). The 1952 statute, he argued, could be struck from the
  books, so long as its kernel of foreign policy power was kept.
  And that is where things went.
  In 1990, Congress repealed the relevant part of the 1952 statute
  and replaced it with the current Section 1227. See Immigration
  Act of 1990, Pub. L. 101–649, 104 Stat. 4978 (1990).
  By eliminating the broad 1952 “public interest” standard and
  allowing for removal only on grounds related to “foreign policy
  interests,” Section 1227 provided what the Reagan administration
  had wanted: a narrower statute, focused solely on the
  Secretary’s power as to foreign policy concerns, without any of
  the power of the old “public interest” standard as to matters of
  “internal” concern.
  In a nutshell: Section 1227 was meant to focus on foreign
  concerns, not domestic ones. And that view undergirded the
  Reagan administration’s position --- which was to walk away from
  removal powers triggered by “internal” conduct, so long as
  foreign-focused removal powers stayed on the books.

             2.    Enforcement History

  The Court can also look to Section 1227’s enforcement history.
  In its Wyndham decision, the Third Circuit assessed enforcement
  history to help resolve a vagueness question. It scrutinized
  the complaints filed by an enforcement agency, the FTC, to get a
  handle on the notice that might have been provided to an entity
  that was later sued by the agency. See Wyndham, 799 F.3d at
  257-58 & nn.22-24.52


  52 Three points here. First, in Wyndham the Third Circuit
  pointed to enforcement history to show that a company was not in
  the dark and therefore could not successfully make a lack-of-
  notice argument. See 799 F.3d at 258. But it makes little
  sense to think that enforcement history might be used to help
  defeat a lack-of-notice argument (as in Wyndham) but not to help
  bolster one (as here). Second, there are, in general, solid


                                     58
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 59 of 106 PageID:
                                    2771


  Take up Section 1227’s enforcement history now.53



  reasons to look to enforcement history. For example, it comes
  closer in time to a person’s alleged conduct than legislative
  history, and the example of a concrete case looms larger for an
  ordinary person than a given congressional report. Moreover, in
  terms of notice, what is actually being done (what the
  enforcement history shows) is likely more telling that what was
  first planned (which is what the legislative history shows). In
  addition, if the government always enforces a statute in one way
  but then spins it around and uses it in a wholly different way,
  that may lead to the sort of arbitrary enforcement that
  vagueness doctrine is specifically intended to guard against.
  Why ignore it? A third point. Enforcement history can count
  only if it provides public notice. Wyndham makes that clear,
  see 799 F.3d at 257, and public examples are the Court’s sole
  focus here. A seemingly non-public case put forward by the
  Respondents, see Respondents’ Letter (May 9, 2025) (ECF 241) at
  1, has been put aside. (Note that the State Department has
  published three examples from Section 1227’s enforcement history
  on the internet, in its widely used compendium, the Digest of
  United States Practice in International Law 1991-1999.)
  53 A note on enforcement history in this case. This month, the
  Court convened a conference in lieu of oral argument and set a
  schedule for supplemental briefing. See ECF 224, 228. At the
  conference, the Court indicated it would be looking to
  enforcement history. See Transcript of May 2, 2025
  Teleconference (ECF 229) at 7:14–19, 8:6-10. No one objected.
  Five days later the Court ordered the Respondents to provide
  enforcement-history information. See ECF 231. The Respondents
  apparently agreed that such materials were relevant. They said
  they were “in the process” of gathering those materials
  themselves and “already intended to provide some of this
  information to the Court in [their then-upcoming] supplemental
  [legal brief].” ECF 232. But the Respondents asked for more
  time to provide the information. See id. More time was
  afforded, see ECF 234; the Respondents produced enforcement
  history materials, see ECF 241, 246 --- and then, only after
  that, objected for the first time to the production of further
  information, and seemingly to the use of such materials, too.
  See Respondents’ Letter (May 9, 2025) (ECF 247). The Court did
  not press the matter. But one way or another, the Respondents’
  objection came too late.

                                     59
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 60 of 106 PageID:
                                    2772


                                *     *     *
  The enforcement history of Section 1227 lines up with its
  legislative history.
  They point in the same direction: the statute was meant to be
  used, and generally was used (until the Petitioner’s case) as to
  people whose relevant conduct took place entirely abroad, or all
  but entirely abroad, and which was determined by the Secretary
  to impact U.S. relations with a foreign country.
  Walk through the enforcement history now.
                                *     *     *
  In 1995, the Secretary of State issued a Section 1227
  determination as to a Jordanian national. The underlying facts:
             [T]he respondent was indicted in Jordan of
             conspiracy with the intention of committing
             terrorist acts. The indictment describes a
             deliberately unnamed organization in Jordan
             established for the purpose of fighting
             tyrant Arab rulers, resisting the “peace
             process,” combating vice, and fighting Jews
             and Americans. This documentation alleges
             that the organization collected arms and
             explosives and attempted a number of
             bombings in cinemas in Jordan, and also a
             supermarket there, in January 1994. The
             respondent’s alleged role was training one
             of the organization’s founders at a training
             camp in the Philippines and agreeing to
             finance the organization after a visit to
             Jordan to assess the organization’s
             capabilities in early 1994. As a result of
             the legal proceeding in Jordan, the
             respondent was evidently sentenced to death
             in absentia for his role in the terrorist
             attacks.
  In Re Mohammad J.A. Khalifa, 21 I. & N. Dec. 107, 108–09 (BIA
  1995).
  The Secretary of State’s determination indicated that Jordan had
  requested the removal, see ECF 252 at 5–6, and that saying no
  would “damage U.S. relations with Jordan.” Id. at 6.

                                     60
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 61 of 106 PageID:
                                    2773


                                *     *     *
  Later in 1995, the Secretary of State determined that the leader
  of a Haitian paramilitary force should be removed from the
  United States.
  More of the same. Conduct that took place wholly abroad, and a
  determination by the Secretary that zeroed in on harm to U.S.
  relations with a foreign country.
  Secretary of State Christopher’s determination:
             [T]he Revolutionary Front for the
             Advancement and Progress of Haiti (“FRAPH”)
             . . . claims to be a political party, [but]
             it has never in fact participated in the
             national political process. It is
             officially regarded by the Department of
             State as an illegitimate paramilitary
             organization whose members were responsible
             for numerous rights violations in Haiti in
             1993 and 1994. Opposition to FRAPH is a key
             element of our Haitian foreign policy, and
             we have said so publicly. . . .
             [The foreign national whose removal is
             sought] is one of the co-founders and
             current President of FRAPH. He was
             instrumental in sustaining the repression
             that prevailed in Haiti under the illegal
             military-led regime until it was displaced
             last September by the multinational force
             led by the United States. On February 3,
             1995, Mr. Constant sent a letter on behalf
             of FRAPH to the Special Representative of
             the Secretary General of the United Nations
             for Haiti using a Washington, D.C., return
             address and telephone number. In addition,
             since his arrival in the United States,
             FRAPH elements in Haiti have broadcast on
             Haitian radio tape recordings of Mr.
             Constant speaking on behalf of FRAPH to the
             Haitian people.
             These activities create the impression in
             Haiti that the United States is permitting


                                     61
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 62 of 106 PageID:
                                    2774


             Mr. Constant to use the United States as a
             base of operations for FRAPH. They fuel
             false but widespread perceptions in Haiti
             that Mr. Constant was deliberately allowed
             to enter the United States in December and
             that the United States Government is
             secretly supporting him; that the United
             States endorses both him and his positions;
             and that we approve of FRAPH. These
             misperceptions persist notwithstanding that
             we have consistently denounced FRAPH and
             made statements distancing the United States
             from it and Mr. Constant.
             My concern about Mr. Constant’s presence and
             activities in the United States is
             heightened by the fact that elections for a
             new Haitian Parliament and for over 2,000
             local government positions are scheduled for
             June 4, 1995. The United States has a huge
             stake in making sure that these elections --
             - the best manifestation of democracy ---
             are held successfully. Because Mr. Constant
             for many Haitians symbolizes the antithesis
             of democracy, permitting him to remain at
             large in the United States could undermine
             this important foreign policy
             objective. . . .
             The Haitian Government shares our belief
             that Mr. Constant is in the United States
             and has requested his extradition so that he
             may face criminal charges in Haiti. We have
             returned the request, which was technically
             deficient, to the Haitian Government, to
             which we have offered assistance in
             perfecting the documents. Given the
             compelling foreign policy interests at
             stake, it is essential that we seek Mr.
             Constant’s deportation independent of any
             extradition efforts.
  Letter from Warren Christopher, Sec’y of State, to Janet Reno,
  Att’y Gen. (Mar. 29, 1995), U.S. Dep’t of State,
  https://perma.cc/24DS-V4DR (accessed on May 28, 2025) (retrieved

                                     62
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 63 of 106 PageID:
                                    2775


  through the Digest of United States Practice in International
  Law 1991-1999).54
                                *     *     *
  Fast-forward two years, to a 1997 determination from Secretary
  of State Albright and another example of the same pattern.
  A foreign national’s removal was sought based on purely foreign
  conduct, and also based on an impact on U.S. relations with
  other countries. Among other things, a refusal might have
  harmed a U.S.-led peace process, and might have made other
  countries less likely to help America deny safe havens to
  terrorists.
             I have determined that the entry, continued
             presence, or activities in the United States
             of Mousa Mohammed Abu Marzook . . . would
             have potentially serious adverse foreign
             policy consequences for the United States
             and would compromise a compelling United
             States foreign policy interest. My
             determination is based on the following
             considerations. . . .
             Mr. Marzook, who acknowledges that he is a
             top official of Hamas, has been declared a
             “Specially Designated Terrorist” under the
             authority of [a Presidential] executive
             order by virtue of his actions on behalf of
             Hamas. All assets of both Hamas and Mr.
             Marzook in the United States are blocked,
             and financial transactions with each are
             prohibited unless authorized by the
             Department of the Treasury’s Office of
             Foreign Assets Control.
             Additionally, during the course of recent
             extradition proceedings against Mr. Marzook

  54 See also, e.g., Matthew Purdy, Hiding in Plain Sight: Search
  for Haitian Exile, N.Y. Times, May 24, 1995, at B.1 (newspaper
  article describing Constant’s removal from the United States);
  INS Agents Arrest Emmanuel Constant, United Press Int’l (May 11,
  1995), https://perma.cc/8UMS-MFSR (accessed on May 28, 2025)
  (same).

                                     63
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 64 of 106 PageID:
                                    2776


             initiated at the request of the Government
             of Israel, two U.S. courts found probable
             cause that he was criminally responsible for
             ten specific, grave incidents of terrorism
             in and around Israel before his arrival in
             the United States. Judge Duffy stated:
                   “I find that there is probable
                   cause to believe Abu Marzook
                   engaged in and intended to further
                   aims of the conspiracy by his
                   membership in and support of the
                   Hamas organization. I also find
                   that probable cause exists that
                   Abu Marzook knew of Hamas’s plan
                   to carry out violent, murderous
                   attacks, that he selected the
                   leadership and supplied the money
                   to enable the attacks to take
                   place and that such attacks were,
                   therefore, a foreseeable
                   consequence of the conspiracy.”
             Judge Wood, in her ruling, found that “the
             evidence [Judge Duffy] relied upon is more
             than sufficient to sustain his ruling,”
             noting as an example Mr. Marzook’s public
             acceptance of responsibility on behalf of
             Hamas for an October 9, 1994, attack in a
             pedestrian mall in downtown Jerusalem. . . .
             The credibility of United States policies
             would be jeopardized if a prominent leader
             of a designated terrorist organization were
             allowed to reside in the United States.
             This in turn would undermine our ability to
             seek cooperation from others in denying
             terrorists [safe haven]. Moreover, this is
             a particularly crucial moment in the Middle
             East peace process, when senior United
             States officials are making a maximum effort
             to secure cooperation in the fight against
             Hamas terrorism and to resume the
             negotiating process.


                                     64
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 65 of 106 PageID:
                                    2777


  Letter from Madeleine Albright, Sec’y of State, to Janet Reno,
  Att’y Gen. (Apr. 4, 1997) (quoting Marzook v. Christopher, 1996
  WL 583378 (S.D.N.Y. Oct. 10, 1996)), https://perma.cc/Q87M-UD99
  (retrieved through the Digest of United States Practice in
  International Law 1991-1999) (accessed on May 28, 2025) (cleaned
  up).
                                *     *     *
  Finally: Matter of Ruiz-Massieu, 22 I. & N. Dec. 833 (BIA 1999).
  There, federal officials sought to remove Mario Ruiz-Massieu.
  See Massieu, 91 F.3d at 417–19. He was “the second ranking law
  enforcement authority in Mexico” and was facing “serious” and
  “unprecedented” criminal charges there. Massieu, 915 F. Supp.
  at 711.
  Ruiz-Massieu was alleged to have violated Mexican criminal law
  while serving in Mexico as a Mexican government official. See
  id. The Secretary’s determination focused entirely on his
  alleged activities abroad. And it zeroed in on damage in the
  absence of removal to “U.S.–Mexican relations.”
             The U.S. Government has consistently urged
             Mexico to take the steps towards reform in
             its justice system that President Zedillo is
             so forcefully pursuing. The ability to
             prosecute Mr. Ruiz Massieu and other
             powerful individuals in Mexico for the
             crimes of which they are accused is key to
             the success of Zedillo’s pledge to transform
             totally the judicial and law enforcement
             system and to rid Mexico of corruption and
             abuse of power. Should the U.S. Government
             not return Mr. Ruiz Massieu to Mexico, our
             support of such reforms would be seen as
             hollow and self-serving and would be a major
             setback for President Zedillo and our
             combined efforts to chart a new and
             effective course of U.S.–Mexican relations.
  Id. at 712.55


  55 See generally Ronald Smothers, Former Mexican Deputy Attorney
  General Indicted for Drug Trafficking, N.Y. Times (Aug. 28,


                                     65
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 66 of 106 PageID:
                                    2778


                                *     *     *
  The legislative history and the enforcement history of
  Section 1227 sit on the same side of the scale.
  Section 1227 was generally meant to be used, and has been used,
  for conduct (a) that entirely or all but entirely took place
  outside the United States and (b) that, as determined by the
  Secretary, would impact U.S. relations with a foreign country.
  But here, per the Secretary’s determination, the Petitioner
  acted solely within the United States. See Determination at 2.
  And the Secretary did not affirmatively determine that the
  Petitioner’s conduct had any impact on U.S. relations with
  another country.
  The legislative and enforcement history do not suggest in “the
  common mind,” McBoyle, 283 U.S. at 27, that removal might be
  sought in these circumstances.56
  Rather, they underscore that a Section 1227 removal of the kind
  at issue here is unprecedented --- not within the realm of
  conduct that the statute normally covers, of which an ordinary
  person would have notice.

        E.   Difficulty

  To see the next point, start with this legal principle: a law
  can be unconstitutionally vague when it conditions liability or
  punishment (or here, removal) on a standard that requires
  analysis that is simply too hard for an ordinary person to
  realistically pull off.




  1999), https://perma.cc/3DZZ-EBG8 (accessed on May 28, 2025);
  Ex-Official of Mexico Indicted, Wash. Post. (Aug. 27, 1999),
  https://www.washingtonpost.com/archive/politics/1999/08/28/ex-
  official-of-mexico-indicted/8633fe6d-5e2b-476a-8496-cc72cbca6a5d
  (accessed on May 28, 2025).
  56 If anything, the relevant “history and practice,” Beauharnais
  v. Illinois, 343 U.S. 250, 253 (1952), might have led an
  ordinary person to affirmatively believe that domestic conduct
  which the Secretary has not determined affects U.S. relations
  with another country is beyond the reach of Section 1227.

                                     66
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 67 of 106 PageID:
                                    2779


  The Supreme Court has made that clear, as discussed below.              And
  it is not hard to see its reasoning.
  A standard that is too hard to use undermines notice. As a
  practical matter, it leaves people guessing as to whether they
  are violating the law.
  And such a standard also ups the odds of arbitrary enforcement,
  because it leaves enforcers to guess, too.
  Take this up now, along with its implications for this case.
                                *     *     *
  Legal standards often require some analysis, and that is not
  generally a vagueness problem.
  Take an ordinance that says a person picketing outside a school
  commits a crime if she makes noise that disturbs a class.
  The ordinance requires the demonstrator to think through the
  possible relationship between a cause (her protest) and a
  possible effect (disruption of the students and teachers working
  away inside).
  If she gets the analysis wrong --- or at least analyzes things
  differently than a police officer might --- the demonstrator can
  be arrested.
  This is no vagueness issue.
  The ordinance requires an analysis that is not especially
  complicated or obscure. People can figure out whether “normal
  . . . activity . . . is about to be disrupted.” Grayned, 408
  U.S. at 112.
  No surprise, then, that anti-noise ordinances along the lines of
  the above have routinely survived vagueness challenges. See,
  e.g., id.; Cameron, 390 U.S. at 615–17 (rejecting vagueness
  challenge to an ordinance that prohibited demonstrations that
  disturbed activity inside a courthouse); see generally Nash v.
  United States, 229 U.S. 373, 377 (1913) (“[T]he law is full of
  instances where a man’s fate depends on his estimating
  rightly.”).
  Consider another law.
  This one told truck drivers hauling explosives to avoid “driving
  into or through congested thoroughfares, places where crowds are


                                     67
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 68 of 106 PageID:
                                    2780


  assembled” --- “so far as practicable, and, where feasible.”
  Boyce Motor Lines, 342 U.S. at 339.
  This can be tricky to figure out in big cities, and a truck
  company hauling loads from New Jersey to New York was charged
  with breaking the referenced law. See id.
  It argued the law was unconstitutionally vague. See id. at 339–
  40. But the Supreme Court disagreed. See id. at 343.
  Trucking-industry groups had been involved in formulating the
  law, see id. at 341–42, and truckers could realistically be
  expected to thread the needle by mapping out routes that dodged
  “congested” streets and “crowd[ed]” places. See id. at 342–43;
  accord, e.g., Sproles, 286 U.S. at 393 (rejecting vagueness
  challenge to a law that required truckers to use the “shortest
  practicable route to [their] destination”).
  In the noise-ordinance cases and in the trucking cases, the
  operative legal standards required some analysis. But not too
  much, and so the Supreme Court held there was no vagueness
  problem.
  There are cases, though, that go the other way --- cases in
  which the analysis required by a statute’s operative standard
  was too difficult as a practical matter, and so the Supreme
  Court struck down the statute.
  Walk through the cases now.
                                *     *     *
  First, International Harvester Co. of America v. Kentucky, 234
  U.S. 216 (1914).
  A Kentucky law allowed certain businesses to come together to
  sell their goods --- but only if that would not raise prices.
  See id. at 221.
  How to confirm that prices did not jump?
  Per the Kentucky law, that was a matter of determining whether
  current prices were no more than what “the market value under
  fair competition” would have been --- that is, the prices “under
  normal market conditions,” id., had the businesses not decided
  to join together in the first place.




                                     68
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 69 of 106 PageID:
                                    2781


  A company, International Harvester, was convicted under this
  law. See id. at 219. But the Supreme Court, per Justice
  Holmes, struck down the law as unconstitutionally vague.
  Why? Not because the Kentucky law required wading through some
  shades of gray. Many laws require that.
  Negligence law, per the Supreme Court, was one such example:
  “between the two extremes of the obviously illegal and the
  plainly lawful there is a gradual approach, and that the
  complexity of life makes it impossible to draw a line in advance
  without an artificial simplification that would be unjust.” Id.
  at 223. Laws against negligence leave room for judgment, but
  they are not vague. They involve well-known concepts, which
  makes it “comparatively easy for common sense to keep to what is
  safe.” Id.
  But the Kentucky law was vague because “common sense” could be
  no help. Only “complex[],” id., counterfactual economic
  analysis could indicate what prices might have been had the
  businesses not come together --- and without doing that
  analysis, International Harvester could not stay on the right
  side of the law.
  But why not just require International Harvester to loose
  accountants and economists on the pricing question?
  The Supreme Court’s answer: the required analysis was simply too
  hard.
  Working through it would vex “the acutest commercial mind.” Id.
  The facts --- necessary grist for any financial analysis ---
  were “uncertain both in nature and degree.” Id. They were
  “only partially determinate.” Id. The end result would be
  “[t]o compel [businesses] to guess,” “to divine prophetically.”
  Id.
  All of this, per the Supreme Court, was too much, and so it
  struck down the law as vague. See id. at 222–24; accord, e.g.,
  Am. Seeding Mach. Co. v. Kentucky, 236 U.S. 660, 662 (1915);
  Collins v. Kentucky, 234 U.S. 634, 638 (1914).
  Ordinary people need to have a real shot at understanding what
  the law requires. That is impossible when a law’s requirements
  are articulated through an analysis that must be done --- but
  which is so challenging that it ultimately calls for a great
  deal of guesswork. See Harriss, 347 U.S. at 617 (“The

                                     69
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 70 of 106 PageID:
                                    2782


  underlying principle [of vagueness law] is that no man shall be
  held criminally responsible,57 for conduct which he could not
  reasonably understand to be proscribed.”).58
  Now take another case, United States v. L. Cohen Grocery Co.,
  255 U.S. 81 (1921).
  The defendant, a grocer, was charged with violating a law that
  barred sales of certain goods at an “unjust or unreasonable
  rate.” Id. at 89 (cleaned up).
  District judges had taken numerous approaches to determining a
  “[]reasonable” rate. See id. at 90 n.2. They came up with
  various formulas; these accounted for the price the defendant
  paid, handling costs, and typical industry profits. See id.
  The Supreme Court might have gone with any one of those ---
  especially because the statute in question had a mens rea
  requirement, see id. at 86, something that has long been
  understood as stiff medicine for curing a vagueness problem.
  See, e.g., Screws v. United States, 325 U.S. 91, 101—103 (1945);

  57 As noted in Part III, the vagueness doctrine that applies to
  criminal cases applies in removal cases. See Dimaya, 584 U.S.
  at 156–57 (citing Jordan, 341 U.S. at 229, 231).
  58 A passage in International Harvester suggests that the
  analysis the statute required was not just difficult, but
  impossible --- requiring “gifts that mankind does not possess.”
  234 U.S. at 224. But an impossibility reading of the case would
  be too strong. Judges routinely deal with counterfactual
  questions. What would a person have earned if she had not been
  injured? And counterfactual questions can be sprawling. Think
  of an antitrust class action. Or some of the lost-profits
  issues in major commercial disputes. Or the price effects of
  foreign goods dumped in the domestic market. See, e.g., Swiff-
  Train Co. v. United States, 793 F.3d 1355 (Fed. Cir. 2015). The
  counterfactual economics question in International Harvester
  question would have been very hard. That was the Supreme
  Court’s point. But it would not likely have seemed literally
  impossible to Justice Holmes and his colleagues. (Indeed,
  economists often resolve tough questions by seeking out “natural
  experiments.” And one could have been at hand in International
  Harvester. To ask how the market would have worked without the
  combinations Kentucky allowed, it might have been possible to
  simply look to the prices being charged in similar markets that
  did not have a combinations law like Kentucky’s.)

                                     70
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 71 of 106 PageID:
                                    2783


  United States v. Ragen, 314 U.S. 513, 524 (1942); Gorin v.
  United States, 312 U.S. 19, 27—28 (1941); Omaechevarria, 246
  U.S. at 348.
  But the Court struck down the statute as vague. See L. Cohen
  Grocery, 255 U.S. at 92–93. The range of facts that might
  relate to whether a price is “unreasonable” was simply too broad
  to get a solid handle on.
             [The statute] confines the subject-matter of
             the investigation which it authorizes to no
             element essentially inhering in the
             transaction as to which it provides. It
             leaves open, therefore, the widest
             conceivable inquiry, the scope of which no
             one can foresee and the result of which no
             one can foreshadow or adequately guard
             against.
  Id. at 89.
  The statute, in short, envisioned a standard (“[]reasonable” and
  “[]just”) for allowable prices. See id. at 86.
  That standard, on its own, may not have been too hard to
  administer. See Cameron, 390 U.S. at 616 & n.7 (holding that
  “unreasonable” is not vague --- and noting that the Constitution
  itself uses that term).
  But applying the standard, figuring out how it might actually
  work as to the price of a pound of sugar --- that was too much.
  The equation was too difficult to work through, because its
  factual inputs could be anything and everything --- “the widest
  conceivable inquiry.”
  A third case is Johnson v. United States, 576 U.S. 591 (2015).
  There, the Supreme Court considered a provision of federal law
  that lengthened a defendant’s prison term if she had three or
  more prior convictions for a “violent felony.” See id. at 593
  (cleaned up). The law, as interpreted by the Supreme Court,
  defined “violent felony” in light of whether the underlying
  crime’s “ordinary case” posed a serious risk of physical injury.
  See id. at 596 (cleaned up).
  This was too vague an approach under the Constitution, the
  Supreme Court held. One of the main reasons why:


                                     71
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 72 of 106 PageID:
                                    2784


             How does one go about deciding what kind of
             conduct the ‘ordinary case’ of a crime
             involves? A statistical analysis of the
             state reporter? A survey? Expert evidence?
             Google? Gut instinct? To take an example,
             does the ordinary instance of witness
             tampering involve offering a witness a
             bribe? Or threatening a witness with
             violence? . . . Explaining why attempted
             burglary poses a serious potential risk of
             physical injury, the Court said: “An armed
             would-be burglar may be spotted by a police
             officer, a private security guard, or a
             participant in a neighborhood watch program.
             Or a homeowner . . . may give chase, and a
             violent encounter may ensue.” The dissent,
             by contrast, asserted that any confrontation
             that occurs during an attempted burglary “is
             likely to consist of nothing more than the
             occupant’s yelling ‘Who’s there?’ from his
             window, and the burglar’s running away.”
             The [statute] offers no reliable way to
             choose between these competing accounts of
             what ‘ordinary’ attempted burglary involves.
  Id. at 597 (cleaned up).
  The questions posed by the Supreme Court, through Justice
  Scalia, were sharp and telling. But they were clearly
  rhetorical.
  It is possible to work out, at least roughly, what the
  “ordinary” case of a crime is. For example, a “statistical
  analysis” of reported cases would likely shed light on that,59
  and an expert deep dive might, too. Indeed, the Sentencing

  59 There are, for example, around two to three dozen people
  charged each year in the federal system under the statute that
  forbids witness tampering. See Federal Criminal Case Processing
  Statistics Data Tool, Bureau of Just. Stats.,
  https://fccps.bjs.ojp.gov/home.html?dashboard=FJSP-
  CriminalCodeStats&tab=CriminalCodeStatistics&ccm=4 (accessed on
  May 28, 2025) (Select “Number of persons in cases filed” and
  “18:1512 B”). The indictments for these can help show what is
  typical.

                                     72
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 73 of 106 PageID:
                                    2785


  Guidelines are in part premised on typicality. See Koon v.
  United States, 518 U.S. 81, 94 (1996) (noting that the United
  States Sentencing Commission bases its Guidelines on “a
  heartland of typical cases”); U.S. Sent’g Guidelines Manual at 7
  (U.S. Sent’g Comm’n 2024) (“When a court finds an atypical case,
  one to which a particular guideline linguistically applies but
  where conduct significantly differs from the norm, the court may
  consider whether a departure is warranted.”).
  The point is only this: Johnson does not rest on the idea that
  it is literally impossible to determine what the “ordinary” case
  of a crime is --- only that the analysis is enormously difficult
  and consuming.
  And when the law requires an analysis like that, vagueness red
  flags go up, as they did in International Harvester and L. Cohen
  Grocery, too.
  This point looms especially large in First Amendment-related
  cases.60
  To see how, look to a final case, Herndon v. Lowry, 301 U.S. 242
  (1937).
  There, the Supreme Court reviewed a state criminal conviction.
  The underlying statute had been construed as requiring an
  element of violence, see id. at 262–63, but the defendant had
  done little more than recruit Communist Party members and
  possess certain literature. See id. at 253.
  On what basis, then, could he have been convicted? How could
  the violence aspect of the conviction be sustained?
  The state courts’ answer: based on the potential actions of
  others --- on the defendant’s “influence . . . in causing such
  action by those whom he sought to induce.” Id. at 262.
  Quoting L. Cohen Grocery at length, see id. at 263, and citing a
  set of other vagueness cases, see id. at 263 n.14, the Supreme
  Court reversed the conviction.
  The state’s criminal law, the Supreme Court held, improperly
  allowed for conviction based on a “forecast,” id. at 262, the



  60 The Petitioner’s case is a First Amendment case.            See Part
  V.F.

                                     73
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 74 of 106 PageID:
                                    2786


  “result of a chain of causation,” id., as to how others might in
  the future respond to the defendant’s past actions.
             The question thus proposed to a jury
             involves pure speculation as to future
             trends of thought and action. Within what
             time might one reasonably expect that an
             attempted organization of the Communist
             Party in the United States would result in
             violent action by that party? If a jury
             returned a special verdict saying twenty
             years or even fifty years, the verdict could
             not be shown to be wrong. The law, as thus
             construed, licenses the jury to create its
             own standard in each case.
  Id. at 263.
  The theory that the defendant “ought to have foreseen his words
  would have some effect in the future conduct of others,” id. at
  263–64, was, per the Supreme Court, too “vague.” See id. at
  264.
                                *     *     *
  Come back now to this case.
  Section 1227, the subject of the Petitioner’s as-applied
  challenge, triggers the same difficulties as the just-cited
  cases.
  The Secretary of State’s determination rests, as relevant here,
  on the idea that the Petitioner’s conduct in the United States
  impacted the global fight against anti-Semitism. See
  Determination at 2.61
  But there is no suggestion as to how.
  The Secretary’s determination does not say that the Petitioner
  contacted anyone outside the United States. And the Secretary’s
  determination does not suggest that people abroad paid any
  attention to the Petitioner --- let alone that he influenced
  them in the direction of prejudice (or in any other direction
  for that matter).

  61 Put aside for now that the Secretary of State did not
  affirmatively determine whether this had the required impact on
  U.S. relations with other countries.
                                     74
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 75 of 106 PageID:
                                    2787


  The implied understanding of Section 1227 at work in the
  Secretary’s determination would seem to be this: while the
  statute covers only impacts on “foreign policy,” those impacts
  can be the product of domestic action that is not said to be
  directed to the outside world.
  Impacts of that sort can plainly happen. Ideas and words can
  spread. An act here can cause bias there. One person’s example
  can “influence” another person --- “as a result of a chain of
  causation.” Herndon, 301 U.S. at 262.
  But if that is the idea, how is an ordinary person to have
  notice that his conduct in America may have the impact that
  Section 1227 requires? How will he know whether people are
  hearing his words? That they are being influenced by them?
  That he is being seen by others as a kind of role model? What
  facts will he need to look to in order to answer these
  questions? Is he to read foreign newspapers to see whether he
  is being covered and how? In what languages? Newspapers from
  what places? Should he look to YouTube? TikTok? How
  thoroughly must he search for himself online? And critically:
  how much influence abroad is enough? When will he have a sense
  that his influence has risen to the high level of
  “compromis[ing]” --- “undermin[ing],” Compromise, v., sense 2,
  Oxford American Writer’s Thesaurus (2024) (emphasis added) --- a
  compelling American foreign policy interest?62
  If a person wishes to steer clear of the possibility of being
  removed from the United States under Section 1227, he will have
  to go quiet, or he will have to figure these things out.
  But having people go quiet because they cannot readily determine
  how to stay on the right side of the law --- that is one of the
  things vagueness doctrine exists to guard against.63



  62 Cf. Johnson, 576 U.S. at 597 (“How does one go about deciding
  what kind of conduct the ‘ordinary case’ of a crime involves? A
  statistical analysis of the state reporter? A survey? Expert
  evidence? Google? Gut instinct?”).
  63 See Grayned, 408 U.S. at 109 (“[W]here a vague statute abuts
  upon sensitive areas of basic First Amendment freedoms, it
  operates to inhibit the exercise of those freedoms. Uncertain
  meanings inevitably lead citizens to steer far wider of the


                                     75
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 76 of 106 PageID:
                                    2788


  And as to figuring things out, the task is, simply, very hard.
  Answering the questions listed out above depends on an
  extraordinarily broad range of information.
  And the questions are, in any event, difficult --- around as
  hard as the questions in International Harvester, L. Cohen
  Grocery, and Johnson, cases in which the legal standards were
  too hard to realistically apply, to the point that they did not
  allow for real notice to potential violators and the underlying
  statutes were struck down by the Supreme Court as
  unconstitutionally vague.
  And more pointedly: a standard that turned on a “forecast” as to
  how others might be “influenced” by one’s conduct was stuck down
  as vague by the Supreme Court in Herndon.
  But that is what Section 1227 asks of the Petitioner here.

        F.   The First Amendment

  A final point.
  When it comes to First Amendment–protected speech, the Supreme
  Court has repeatedly said that vagueness doctrine is especially
  demanding.64
  The Secretary’s determination here falls into First Amendment
  category.



  unlawful zone than if the boundaries of the forbidden areas were
  clearly marked.”) (cleaned up).
  64 See Fox Television Stations, 567 U.S. at 253–54; Reno v. Am.
  C.L. Union, 521 U.S. 844, 871–72 (1997); Marks v. United States,
  430 U.S. 188, 196 (1977); Buckley v. Valeo, 424 U.S. 1, 41
  (1976); Parker v. Levy, 417 U.S. 733, 756 (1974); Goguen, 415
  U.S. at 573; Grayned, 408 U.S. at 109; Ashton v. Kentucky, 384
  U.S. 195, 200 (1966); Baggett, 377 U.S. at 372–73 & n.10; Cramp,
  368 U.S. at 287–88; Smith v. California, 361 U.S. 147, 151
  (1959); Cantwell v. Connecticut, 310 U.S. 296, 308 (1940); see
  also Ashcroft v. Free Speech Coal., 535 U.S. 234, 258 (2002);
  Interstate Cir., Inc. v. City of Dall., 390 U.S. 676, 684–90
  (1968); Cox v. Louisiana, 379 U.S. 536, 551–52 (1965); Edwards
  v. South Carolina, 372 U.S. 229, 237 (1963); Winters, 333 U.S.
  at 509–10; Stromberg v. California, 283 U.S. 359, 369 (1931).

                                     76
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 77 of 106 PageID:
                                    2789


  The Secretary’s determination suggests it was based on the
  Petitioner’s “lawful” “beliefs, statements, or associations.”
  Determination at 1.
  And “beliefs,” “statements,” and “associations” are generally
  protected by the First Amendment. See, e.g., Elfbrandt v.
  Russell, 384 U.S. 11, 18 (1966); Kingsley Int’l Pictures Corp.
  v. Regents of Univ. of State of N.Y., 360 U.S. 684, 688 (1959).65
                                *     *     *
  When the First Amendment is implicated, as here, vagueness
  doctrine becomes especially unforgiving.
  To see the point, look first to Buckley v. Valeo, 424 U.S. 1
  (1976).
  There, the Supreme Court considered a vagueness challenge to a
  campaign-finance statute.
  The challenged provision read: “No person may make any
  expenditure . . . relative to a clearly identified candidate
  during a calendar year which, when added to all other
  expenditures made by such person during the year advocating the
  election or defeat of such candidate, exceeds $1,000.” Id. at
  193.
  This is much more specific and sharply drawn than Section 1227’s
  “compromise[s] a compelling . . . foreign policy interest.”
  And on first glance, it looks like it easily clears the
  vagueness bar.
  After all, the statute’s words limit the giving of one person
  (“no person”) towards another (“a clearly identified candidate”)
  during a clearly defined time (“a calendar year”) to a fixed
  amount of money (“$1,000”). On top of that, the act included



  65 Sometimes, though, they are not. Think, for example, of
  “fighting” words or “true threats.” See Counterman v. Colorado,
  600 U.S. 66, 72 (2023); Chaplinsky v. New Hampshire, 315 U.S.
  568, 572 (1942). But those carveouts are not in play. The
  Secretary has proceeded on the basis that the Petitioner’s
  “beliefs, statements, or associations” were “otherwise lawful” -
  -- lawful, that is, but for their being a predicate for a
  Section 1227 removal.

                                     77
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 78 of 106 PageID:
                                    2790


  its own definitions for “expenditure,” “clearly identified,” and
  “candidate.” See id. at 41.
  But there was a problem, the Supreme Court said.
  One statutory term, “relative to,” was left undefined. See id.
  at 41. And that suggested possible vagueness. See id.
  To salvage the statute, the Court looked to context and
  legislative history. Context permitted (and maybe required)
  “‘relative to’ a candidate to be read to mean ‘advocating the
  election or defeat of’ a candidate.” Id. at 42. And this
  definition also found support in the Senate Report, House
  Report, Conference Report, and the opinion of the court of
  appeals. See id. at 42 n.49.
  But even that did not close the door on the vagueness problem.
  See id. at 42. It just opened the way to new questions. What
  did it mean to advocate “the election or defeat of” a candidate?
  The line between such advocacy, which the statute limited, and
  “discussion of issues or candidates,” which it did not, was too
  hazy, the Court said. See id. at 42–43.
  “Such a distinction offers no security for free discussion.”
  Id. at 43 (cleaned up). “In these conditions it blankets with
  uncertainty whatever may be said. It compels the speaker to
  hedge and trim.” Id. (cleaned up).
  So the Supreme Court further narrowed the statute.
  As newly construed, the provision would extend “only to
  expenditures for communications that in express terms advocate
  the election or defeat of a clearly identified candidate for
  federal office.” Id. at 44.
  And the Court listed specific phrases ---- “express words of
  advocacy of election or defeat, such as ‘vote for,’ ‘elect,’
  ‘support,’ ‘cast your ballot for,’ ‘Smith for Congress,’ ‘vote
  against,’ ‘defeat,’ ‘reject’” --- to show exactly where the line
  was. Id. at 44 n.52.
  Only with that extraordinary amount of specificity now baked in
  did the Court hold that the provision could survive a vagueness
  challenge under the heightened First Amendment standard afforded
  to political speech. See id. at 44; see also id. at 41 (noting
  that the Buckley Court was wrestling with an area “permeated by
  First Amendment interests”).


                                     78
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 79 of 106 PageID:
                                    2791


  And there can be no doubt that the statute in Buckley, which
  barely squeaked by, was much less vague than Section 1227.
                                *     *     *
  Buckley is not alone.
  Look to a final case, United States v. Loy, 237 F.3d 251 (3d
  Cir. 2001).
  The defendant there, convicted for possessing child pornography,
  challenged a supervised-release condition as vague. The
  condition barred him “from possessing all forms of pornography,
  including legal adult pornography.” Id. at 261. (cleaned up).66
  Was this too vague?     Yes, the Third Circuit held.
  The court was not writing on a completely blank slate in
  defining “pornography.” The Supreme Court had at least pointed
  to a definition of the word, though that was dicta of the most
  glancing kind. See id. at 263 (citing Miller v. California, 413
  U.S. 15, 19 n.2 (1973)).
  That definition and others in dictionaries left room for debate.
  See id. at 263–64. And even with their help, the Third Circuit
  could not say whether pornography encompassed only visual
  materials or included pure text and sound recordings, or whether
  it would sweep in medical textbooks and classic novels. See id.
  at 264, 266.
  And while a federal statute defined a related term, “child
  pornography,” that definition did not fit with the release
  condition. See id. at 263 n.4 (citing 18 U.S.C. § 2256). The
  court declined to adopt it (though it noted that the district
  court might borrow from it on remand). See id. at 267.
  The court also declined to salvage the condition by reading it
  to include a mental-state requirement. Mens rea “cannot
  eliminate vagueness if it is satisfied by an ‘intent’ to do
  something that is in itself ambiguous,” the court said. Id. at
  265 (cleaned up).
  The no-pornography condition went too far, and the First
  Amendment was part of why. “[W]ith no guidepost for [the
  defendant], the pornography prohibition as currently written

  66 The court of appeals noted that pornography receives First
  Amendment protection. See id. at 261–63.

                                     79
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 80 of 106 PageID:
                                    2792


  violates due process by failing to provide [the defendant] with
  adequate notice of what he may and may not do, chilling his
  First Amendment rights.” Id. at 267. The court of appeals
  vacated the condition. See id. at 270.
                                *     *     *
  The Supreme Court has repeatedly held that when it comes to
  First Amendment vagueness, the kind at issue here, the bar is
  raised to its highest level. See Part III.
  But the Court does not seem to have set down a doctrinal test
  that reflects the special rigor demanded in this area.
  No matter, though.
  Buckley and Loy make clear what it means.
  Think of the Supreme Court in Buckley, which upheld the
  campaign-finance statute, but only after working at length to
  pin it down.
  And think of the Third Circuit in Loy, which looked to
  dictionaries, another statute, and a mens rea requirement ---
  but still struck down the supervised-release condition as vague.
  As the Court has shown, the Secretary’s determination has many
  vagueness-as-applied strikes against it.
  Section 1227 is vaguer than other statutes that have been struck
  down. See Part V.C.
  Section 1227 has been applied here in a surprising way --- one
  that lessens the notice that an “ordinary person” receives and
  leaves enforcement fully “standardless.”
  The Secretary has not determined that the Petitioner’s conduct
  has impacted U.S. relations with another country. But that is
  what Section 1227 requires. See Part V.B.
  And the statute’s legislative and enforcement history do not
  foreshadow the Secretary’s determination. See Part V.D.
  Moreover, Section 1227, as applied here, requires hard thinking
  to even know whether it is being triggered. See Part V.E.
  Take all of those headwinds, and add to them the First
  Amendment’s.
  The result is that the Petitioner is likely to succeed on the
  merits of his claim that Section 1227 is unconstitutionally
                                     80
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 81 of 106 PageID:
                                    2793


  vague as applied to him through the Secretary of State’s
  determination.

        G.   Another Approach

  The premise of the analysis set out above in Part V.B to Part
  V.F is that (a) dictionaries say that “foreign policy” concerns
  state-to-state relations, see Part V.A.3, and (b) vagueness
  doctrine instructs that statutes like Section 1227 must be
  interpreted in light of such dictionary definitions. See id.
  All of this is sound.
  But nonetheless, consider now an alternative approach to the
  vagueness question that appears to implicitly drive part of the
  Respondents’ argument.
  Namely, what if Section 1227’s “foreign policy” has a broader
  meaning? What if it means not just America’s relations with
  other countries, as the dictionaries say, but also encompasses a
  wider concern --- the United States’ relations with the external
  world as a whole?67
  If that were the shape of the umbrella, fighting the social and
  religious scourge of global anti-Semitism could well fit under
  it.
  And if so, it would be beside the point that the Secretary has
  not determined that the Petitioner’s conduct impacts U.S.

  67 The United States has a foreign policy interest in other
  countries. But it may also have a general interest, wholly
  separate from its relation to any countries, in securing access
  from abroad to certain minerals. See Exec. Order 14,241, 90
  Fed. Reg. 13673 (Mar. 20, 2025); Exec. Order 14,017, 86 Fed.
  Reg. 11849 (Feb. 24, 2021). Or in limiting global emissions of
  certain chemicals. See Exec. Order 14,008, 86 Fed. Reg. 7619
  (Jan. 27, 2021); Montreal Protocol on Substances that Deplete
  the Ozone Layer, Preamble, Sept. 16, 1987, S. Treaty Doc. 100-
  10. Or in curbing piracy on the high seas. See U.S. Counter
  Piracy & Maritime Security Action Plan, U.S. Dep’t of State,
  Bureau of Pol.-Mil. Affs. (June 2, 2014). An occasional
  dictionary maps out this understanding, of “foreign policy” as
  concerned with “[t]he political and security policies adopted by
  a state in relation to the outside world.” Foreign Policy,
  sense 1, A Dictionary of Diplomacy 107 (2d ed. 2003).

                                     81
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 82 of 106 PageID:
                                    2794


  relations with any country or countries, because foreign policy
  could be taken as including things (like fighting global anti-
  Semitism) separate from any impact on relations with particular
  countries.
  On this broader understanding --- call it an “external affairs”
  understanding --- is Section 1227 still vague as applied in this
  case?
  The Court’s conclusion: yes.
                                *     *     *
  To see why, begin by noting that an external affairs reading of
  “foreign policy” scrambles the picture --- but only to a point.
  It does not alter the fact that Section 1227 is vaguer than a
  number of statutes that the Supreme Court has struck down. See
  Part V.C. It does not undo the legislative- and enforcement-
  history points.68 See Part V.D. And it does not cast doubt on
  the parts of the analysis that turn on the difficulty of knowing
  whether one has violated the law, see Part V.E, or on the
  relevance of the First Amendment. See Part V.F.
                                *     *     *
  This said, the external affairs understanding of foreign policy
  would seem to improve notice.
  Because, on that interpretation, the statute’s words (“foreign
  policy”) would now better fit the Secretary’s determination.69


  68 The Court has looked to legislative history here only as to
  notice. See Part V.D.1(a). But if there are competing
  understandings of “foreign policy,” each pulling hard in a
  different direction, then Section 1227 is ambiguous. If so, the
  Court can consult the statute’s legislative history not just as
  to notice but also as to the delineation of government powers.
  See Delaware, 598 U.S. at 138-39; McDaniel v. Sanchez, 452 U.S.
  130, 146-47 (1981); Dir., Off. of Workers’ Comp. Programs v. Sun
  Ship, Inc., 150 F.3d 288, 291 (3d Cir. 1998); cf. Pringle v. Ct.
  of Common Pleas, 778 F.2d 998, 1003 n.5 (3d Cir. 1985). And the
  legislative history generally supports the narrower, “other
  countries” reading of foreign policy. See Part V.D.
  69 Notice seems improved. But maybe not really. After all, the
  Secretary’s effort to remove the Petitioner can be squeezed into


                                     82
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 83 of 106 PageID:
                                    2795


  And moreover, using the broader external affairs understanding
  would mean that the Secretary is operating within a legislated
  standard.
  After all, “foreign policy,” on the external affairs
  understanding, can apply to efforts to take on a social or
  religious issue, like combatting global anti-Semitism.
                                *     *     *
  But all of this is on first glance only.
  Look harder at what it would mean to read “foreign policy”
  broadly, and Section 1227 only becomes vaguer, supplying on
  balance both less notice and fewer curbs on enforcement
  discretion.
  This Part explains the point.
                                *     *     *


  the words of Section 1227 only by ignoring the leading
  dictionary definitions of “foreign policy.” But why should an
  ordinary person be expected to whistle past those? Maybe, it
  might be said, this issue can be addressed by treating the
  “other countries” understanding as the primary dictionary
  definition of foreign policy --- and the broader “external
  affairs” understanding as a kind of secondary dictionary
  definition. But there is little warrant for doing this in the
  dictionaries themselves. And in any event, that renames the
  problem. It does not solve it. See Lanzetta, 306 U.S. at 454
  (holding law unconstitutionally vague because, in part,
  dictionary definitions were “numerous and varied”); see also,
  e.g., United States v. Sharp, 27 F. Cas. 1041, 1043 (C.C.D. Pa.
  1815) (noting that Justice Washington, riding circuit, declined
  to recommend a guilty verdict to the jury because when it came
  to the key term, revolt, “[i]f we resort to definitions given by
  philologists, they are so multifarious, and so different, that I
  cannot avoid feeling a natural repugnance, to selecting from
  this mass of definitions, one, which may fix a crime upon these
  men”); McJunkins v. State, 10 Ind. 140, 144-45 (1858)
  (determining that a law is “vague” after consulting multiple
  dictionaries and finding different definitions for the same
  term); cf. Lifchez v. Hartigan, 735 F. Supp. 1361, 1365 (N.D.
  Ill. 1990) (“wildly different definitions” of a key term
  “offer[] little help to persons of common intelligence who want
  to know what the state forbids”).

                                     83
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 84 of 106 PageID:
                                    2796


  Here is a list of some things that have been described as
  American “foreign policy interests” that do not seem to be
  linked to the United States’ relations with any particular
  country:
  (1) ensuring the global economic competitiveness of American
  companies, (2) ensuring resiliency in global supply chains, (3)
  defending democracy around the world, (4) regulating unmanned-
  aerial-systems exports, (5) containing the spread of “radical
  Islam,” (6) ensuring American armed forces maintain a
  technological edge over potential foes, (7) promoting gender
  equality, (8) preventing the violation of United States export
  laws, (9) promoting human rights globally, (10) promoting
  certain international broadcasting, (11) preserving the trade of
  ethically sourced diamonds, (12) promoting trade, (13)
  combatting terrorism, (14) increasing transparency in
  governance, (15) maintaining the aerospace industry’s
  competitiveness globally, (16) achieving a Comprehensive Test
  Ban, (17) furthering economic growth, (18) promoting human
  rights in the Western Hemisphere, (19) supporting free markets,
  (20) enlarging the number of democracies, (21) pursuing world
  freedom, (22) improving international relations, (23) building a
  more peaceful world, (24) promoting science and technology in
  America’s relations with other nations, (25) preventing nuclear
  proliferation, (26) fostering world economic stability, (27)
  increasing individuals’ capacity to meet their basic human
  needs, (28) adequately funding foreign aid, (29) ensuring
  equitable economic intercourse among nations, (30) reducing
  direct military involvement abroad, (31) fostering good will
  towards the United States, (32) reducing unnecessary barriers to
  trade, and (33) assisting the economic growth of less-developed
  countries.70


  70 The source for (1) is Exec. Order 14,209, 90 Fed. Reg. 9587
  (Feb. 10, 2025). For (2), President Joseph Biden, National
  Security Memorandum on United States Conventional Arms Transfer
  Policy (Feb. 23, 2023). For (3), President Joseph Biden,
  Memorandum on Deferred Enforced Departure for Certain Hong Kong
  Residents (Aug. 5, 2021). For (4), Kayleigh McEnany, Statement
  by the Press Secretary on Unmanned Aerial Systems Exports (July
  24, 2020). For (5), President Donald Trump, Remarks on Foreign
  Policy (Apr. 27, 2016). For (6), Presidential Policy Directive
  27, Directive on United States Conventional Arms Transfer Policy
  (President Obama) (Jan. 15, 2014). For (7), President Barack


                                     84
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 85 of 106 PageID:
                                    2797




  Obama, Memorandum on Coordination of Policies and Programs to
  Promote Gender Equality and Empower Women and Girls Globally
  (Jan. 30, 2013). For (8), Exec. Order 13,558, 75 Fed. Reg.
  69573 (Nov. 9, 2010). For (9), Robert Gibbs, Press Sec., Press
  Briefing (Aug. 18, 2009). For (10), President George W. Bush,
  Statement of Administration Policy: H.R. 2764 (June 19, 2007).
  For (11), President George W. Bush, Statement on Signing the
  Clean Diamond Trade Act (Apr. 25, 2003). For (12), Ari
  Fleischer, Press Sec., Press Briefing (Oct. 10, 2001). For
  (13), Letter from President George W. Bush to Vice President
  Dick Cheney and J. Dennis Hastert, Speaker of the House of
  Representatives (Aug. 17, 2001). For (14), President George W.
  Bush, Statement on the Global Forum on Fighting Corruption and
  Safeguarding Integrity II (May 28, 2001). For (15), Mike
  McCurry, Press Sec., Press Briefing (July 3, 1997). For (16),
  Mike McCurry, Press Sec., Press Briefing (Sept. 9, 1996). For
  (17), Letter from President Bill Clinton to Thomas S. Foley,
  Speaker of the House of Representatives, Claiborne Pell,
  Chairman of the S. Comm. on Foreign Rels., and John Glenn,
  Chairman of the S. Comm. on Gov’t Affs. (Mar. 20, 1996). For
  (18), Dee Dee Myers, Press Sec., Press Briefing (Sept. 8, 1994).
  For (19), President Bill Clinton, News Conference with President
  Boris Yeltsin of Russia (July 10, 1994). For (20), Dee Dee
  Myers, Press Sec., Press Briefing (Oct. 20, 1993). For (21),
  President Ronald Reagan, Address to the Nation on the Soviet-
  United States Summit Meeting (Dec. 10, 1987). For (22),
  President Ronald Reagan, Message to the Congress Transmitting
  the Annual Report on International Activities in Science and
  Technology (June 17, 1987). For (23), President Ronald Reagan,
  Remarks to Participants in the National YMCA Youth Governors’
  Conference (June 21, 1984). For (24), President Ronald Reagan,
  Message to the Congress Transmitting the Annual Report on U.S.
  International Activities in Science and Technology (July 11,
  1983). For (25), President Ronald Reagan, Statement on United
  States Nuclear Nonproliferation Policy (July 16, 1981). For
  (26), President Jimmy Carter, State of the Union Address (Jan.
  19, 1979). For (27), President Jimmy Carter, International
  Health Program Statement Announcing a Program to Strengthen U.S.
  Participation (May 2, 1978). For (28), President Richard Nixon,
  Special Message to the Congress Proposing Reform of the Foreign
  Assistance Program (Apr. 21, 1971). For (29), President Richard
  Nixon, Second Annual Report to the Congress on United States
  Foreign Policy (Feb. 25, 1971). For (30), President Richard
  Nixon, Special Message to the Congress Proposing Supplemental
  Foreign Assistance Appropriations (Nov. 18, 1970). For (31),


                                     85
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 86 of 106 PageID:
                                    2798


                                *     *     *
  Note four things about this list.
                                *     *     *
  First, it could run on and on.      Added pages could easily have
  been laid down.
  What notice is provided if “foreign policy interest” can mean
  relations with other countries --- plus the 33 things noted
  above, plus the many multiples of the 33 that might have been
  put down here? Not very much.
  What sort of limits on enforcement discretion does this list
  imply? Only light ones.
  If “foreign policy” means what the dictionaries say --- U.S.
  relations with other countries --- then the denominator is big.
  But it is knowable. The United States recognizes 197 countries.
  See Independent States in the World, U.S. Department of State
  (Mar. 12, 2025), https://perma.cc/9JMZ-UBAE (accessed on May 28,
  2025). Not 196 or 198, and not 296 or 298.
  But how many extra “foreign policy interests” get added in when
  the external affairs interpretation is put on the table? The
  number is very large --- and that diminishes both notice and the
  possibility of genuine limits on enforcement discretion.71
                                *     *     *



  President Lyndon B. Johnson, Statement by the President Upon
  Signing Bill Extending the Agricultural Trade and Assistance Act
  (Oct. 8, 1964). For (32), President Dwight Eisenhower,
  Memorandum of Disapproval of Bill Concerning the Marking of
  Imported Articles and Containers (Sept. 7, 1960). For (33),
  President Dwight Eisenhower, Annual Budget Message to the
  Congress (Jan. 18, 1960).
  71 The breadth of a statute plainly affects an as-applied
  vagueness challenge. See Holder, 561 U.S. at 21 (holding, in
  as-applied case, that the statute was not impermissibly vague in
  light of a statutory definition that narrowed the key
  provision). This is common sense. For a given ordinary person,
  the signal he is seeking (I want to do X, is that allowed?) can
  get buried in what is to him noise (everything else the too-
  broad statute might cover).

                                     86
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 87 of 106 PageID:
                                    2799


  Second, there is no one-stop shop, no single place to see all of
  America’s foreign policy interests put down on paper.
  Look through the sources cited in footnote 70.
  They are all over the map, from executive orders to speeches to
  statements during press briefings. See, e.g., Exec. Order
  14,209, 90 Fed. Reg. 9587 (Feb. 10, 2025) (an executive order);
  President Jimmy Carter, State of the Union Address (Jan. 19,
  1979) (speech); Dee Dee Myers, Press Sec., Press Briefing (Sept.
  8, 1994) (press briefing).
  An external affairs understanding generates not only a large
  number of “foreign policy interests,” but also a number that is
  unknowable as a practical matter.72
  Where would an “ordinary person” look to get the answer to what
  counts as a foreign policy interest?
  America, for example, has an announced interest in promoting
  trade in ethically sourced diamonds. See President George W.
  Bush, Statement on Signing the Clean Diamond Trade Act (Apr. 25,
  2003).
  Is that still an interest? How to know? What about trade in
  gold or cobalt? Can someone be removed from the United States
  for compromising our interest in lithium imports? Who to ask?
  Where to check? See Johnson, 576 U.S. at 597 (“We are convinced
  that the indeterminacy of the wide-ranging inquiry required
  . . . denies fair notice to defendants[.]”); Morales, 527 U.S.
  at 56 (a law may be unconstitutionally vague if it “fail[s] to
  provide the kind of notice that will enable ordinary people to
  understand what conduct it prohibits”); Giaccio, 382 U.S. at 402
  (“a law fails to meet the requirements of the Due Process Clause
  if it . . . leaves the public uncertain as to the conduct it
  prohibits”).
                                *     *     *
  Third, plugging in the adjective “compelling” does not
  meaningfully clear things up.




  72 Also: the United States presumably has secret foreign policy
  interests. What to do about those? See Massieu, 915 F. Supp.
  at 700 (alluding to this issue).

                                     87
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 88 of 106 PageID:
                                    2800


  Of the interests set out above, around a third are characterized
  in the underlying foreign-policy documents as being especially
  important.
  And on the Petitioner’s challenge to Section 1227 as it is being
  applied to him, there is an additional issue.
  As the Respondents argue, see Opposition Brief at 23–25, the
  Secretary of State deserves deference in terms of American
  foreign policy interests and their hierarchy.
  But here it may not ultimately be crystal clear that the
  Secretary determined that the Petitioner’s conduct has affected
  a “compelling foreign policy interest.”
  At the end of the analysis portion of his determination, the
  Secretary said that the Petitioner’s conduct impacted a
  “significant foreign policy objective,” Determination at 2, not
  a “compelling” one.
  And “significant” implies a bar set lower than “compelling.”
  Compare Significant, adj., sense 1, New Oxford American
  Dictionary (2024) (“sufficiently great or important to be worthy
  of attention; noteworthy”), and Significant, adj., sense 3.a,
  Merriam-Webster’s Unabridged Dictionary (2025) (“having or
  likely to have influence or effect: deserving to be
  considered”), with Compelling, adj., New Oxford American
  Dictionary (2024) (“not able to be resisted; overwhelming), and
  Compelling, adj., sense 1, Merriam-Webster’s Unabridged
  Dictionary (2025) (“forcing, impelling, driving”).
                                *     *     *
  Fourth, many of the interests listed out above are both
  enormously broad and fuzzy at their edges.
  If foreign policy means relations with Canada or South Korea,
  that is concrete. On a relations-with-countries understanding,
  “foreign policy” is broad and highly flexible. It can, for
  example, be used to remove terrorists from the United States.
  See Part V.D (providing examples of this).
  But on that understanding, Section 1227 nonetheless has an
  outer-edge limit, and a crisp, objective one at that --- the
  need for a link to America’s relations with other countries.
  What if “foreign policy” under Section 1227 is taken to include
  interests in fostering world economic stability or in creating
  good will towards the United States, to take two examples from

                                     88
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 89 of 106 PageID:
                                    2801


  the list above? How to know where these begin and end? See
  City of Akron, 462 U.S. at 451 (finding law unconstitutional
  when a word was “impermissibly vague as a definition”).
  And this is no abstract concern.
  What “foreign policy interest” was the Secretary invoking here?
  Maybe the answer is “combat[ting] anti-Semitism around the
  world.” Determination at 2.
  But one possible reading of the Secretary’s determination is
  that “the foreign policy of the United States champions . . .
  American citizens” --- and that is the “foreign policy
  objective” in play. Id.
  But if that is so: what are the limits on this sort of interest?
  On this understanding, what would not be a basis for a Section
  1227 removal? See City of Mesquite v. Aladdin’s Castle, Inc.,
  455 U.S. 283, 290 n.12 (1982) (“[V]ague laws do not limit the
  exercise of discretion by law enforcement officials; thus they
  engender the possibility of arbitrary and discriminatory
  enforcement.”); Grayned, 408 U.S. at 108–09 (“[a] vague law
  impermissibly delegates basic policy matters” and in doing so
  opens the way to enforcement on “an ad hoc and subjective basis,
  with the attendant dangers of arbitrary and discriminatory
  application”).
                                *     *     *
  To sum up:
  If “foreign policy interests” are understood as based on U.S.
  relations with other countries, the term drops a solid anchor,
  though a large one. The statutory words point to something
  concrete that exists out in the real world --- the 197 countries
  recognized by the United States.
  But if “foreign policy interests” reach more broadly, to cover
  U.S. relations with other countries, and also the full range of
  America’s external affairs --- then the term loses much of its
  real-world mooring. It becomes hard to even begin to pin down.
  When it comes to making foreign policy, great flexibility may be
  more virtue than vice.
  But when it comes to the notice to ordinary people that the
  Constitution requires, there is a deep difficulty with a statute


                                     89
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 90 of 106 PageID:
                                    2802


  that, on the “external affairs” interpretation, hangs its hat on
  a term whose meaning can move around all but freely.73
  And there is a similar difficulty for the goal of cabining
  government enforcement discretion. See, e.g., Nat’l Ass’n for
  Advancement of Colored People v. Button, 371 U.S. 415, 466
  (1963) (Harlan, J., dissenting) (“Laws that have failed to meet
  [the vagueness] standard are, almost without exception, those
  which turn on language calling for the exercise of subjective
  judgment, unaided by objective norms.”); Coates, 402 U.S. at 616
  (noting that an ordinance against “annoying” conduct “contains
  an obvious invitation to discriminatory enforcement”); see also
  Papachristou, 405 U.S. at 170 (“Where . . . there are no
  standards governing the exercise of the discretion granted by
  the ordinance, the scheme permits and encourages an arbitrary
  and discriminatory enforcement of the law.”); Daniels v. Allen,
  344 U.S. 443, 496 (1953) (“Discretion without a criterion for
  its exercise is authorization of arbitrariness.”), overruled by
  Townsend v. Sain, 372 U.S. 293 (1963).74



  73 See, e.g., Beckles, 580 U.S. at 266 (focusing on the need for
  “legally fixed standards”); accord The Federalist No. 62 (James
  Madison) (discussing the difficulties associated with “a mutable
  policy,” with laws that are not “fixed” and can “undergo . . .
  incessant changes”).
  74 And note here the main flaw in the Respondents’ argument that
  the Petitioner’s challenge to the Secretary’s determination
  raises a non-justiciable “political question.” See Opposition
  Brief at 23–25. Courts cannot usurp the Secretary’s role by
  purporting to determine how the Nation should conduct its
  foreign policy. See id. at 25. Of course not. But the Court
  here has asked only whether Section 1227, as applied through the
  Secretary’s determination, provides enough notice and properly
  cabins government authority. These are questions only about
  whether the Constitution’s due process guarantee has been
  satisfied. Not, for example, about the Secretary’s underlying
  judgment as to the Petitioner. (Indeed, the Court has taken the
  Secretary of State’s determination entirely as a given. See
  footnote 28. It has not at this stage questioned it;
  questioning the determination might well raise different sorts
  of issues.) There is no political question bar here. See,
  e.g., Shachtman v. Dulles, 225 F.2d 938, 944 (D.C. Cir. 1955)
  (holding that challenge to Secretary of State’s determination to


                                     90
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 91 of 106 PageID:
                                    2803


  Bottom line: the Court concludes that the Petitioner is likely
  to succeed on the merits of his Section 1227 vagueness argument
  --- under the dictionary definition of “foreign policy,” and
  also on the broader, external affairs reading discussed in this
  section.75

        H.   Conclusion

  The Secretary of State determined that the Petitioner engaged in
  anti-Semitic conduct that helped to create a hostile environment
  for Jewish students. See Determination at 2. And there is at
  least some suggestion in the determination that this may have
  opened the door to the threat of violence. See id.
  If this is accurate, it offends some of our deepest values.
  One of our country’s proudest claims has been that ancient
  prejudices have had a smaller footprint in America.76 And one
  necessary thread of that fabric is this: Jews, like others, will
  not be targeted or hounded, “harass[ed],” id., as they take part
  in public life.


  deny passport in “the best interests of the United States” was
  “within the scope of the due process clause”).
  75Indeed, on the external affairs understanding this is, if
  anything, an easier case. For example, on the dictionary
  definition of foreign policy, Section 1227 is already vaguer
  than other statutes the Supreme Court has struck down on
  vagueness grounds. See Part V.C. But the external affairs
  reading of Section 1227 would make the statute even vaguer.
  76 See, e.g., Of the Study of the Law in the United States
  (1790–91) in 1 Collected Works of James Wilson 433-35 & n.(b)
  (Kermit L. Hall & Mark David Hall eds., 2007) (a lecture on law
  by Justice James Wilson, with President Washington present, at
  which Justice Wilson said that it was Lord Baltimore who was
  “truly the father of his country,” because “before the doctrine
  of toleration was published in Europe, the practice of it was
  established in America,” by a “law in favour of religious
  freedom [that] was passed in Maryland, as early as the year one
  thousand six hundred and forty nine” --- the Maryland Toleration
  Act (Sept. 21, 1649) that had been championed by Lord
  Baltimore).



                                     91
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 92 of 106 PageID:
                                    2804


  But the Petitioner, in response to the Secretary of State’s
  determination, is emphatic: the Secretary has it wrong. See
  Petition ¶¶ 22-28. He says that he is not a bigot, see id.
  ¶ 25, and claims that he is being persecuted from the highest
  level of our government for nothing more than speaking out on
  behalf of a cause he cherishes. See id. ¶¶ 29-33.
  But this case, at least for now, is not about choosing between
  competing accounts of what happened at Columbia between 2023 and
  2025. Or about whether the Petitioner’s First Amendment rights
  are being violated.77
  Rather, the issue now before the Court has been this: does the
  Constitution allow the Secretary of State to use Section 1227,
  as applied through the determination, to try to remove the
  Petitioner from the United States?
  The Court’s answer: likely not.
  Our law asks about an “ordinary person.” Would he know that
  Section 1227 could be used against him based on his speech
  inside the United States, however odious it might allegedly have
  been --- speech that has not been affirmatively determined by
  the Secretary to have an impact on U.S. relations with other
  countries?
  The Court’s answer is no.
  And our law asks about government power. Would the loose
  interpretation of Section 1227 that the Secretary’s
  determination rests on open the door to arbitrary enforcement?
  The decided cases are mainly about close-to-the-ground officials
  --- police officers, prosecutors, judges. See, e.g., Davis, 588
  U.S. at 451; Kolender, 461 U.S. at 358. Our law needs to be
  steady. And to be steady, it cannot be written so broadly that
  it can mean different things to each different police officer or
  prosecutor who has a hand in enforcing it.
  Here, there is only one possible enforcer of the law.
  This is because when it comes to cases like this one, where the
  underlying conduct is “otherwise lawful” speech, Congress has


  77Because the Court holds the Secretary’s determination is
  likely unconstitutionally vague, the First Amendment issue does
  not need to be reached.

                                     92
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 93 of 106 PageID:
                                    2805


  entrusted the Section 1227 removal power to one person --- the
  Secretary of State. Under the statute, he must exercise his
  power personally, and here he has. The Secretary of State’s
  determination deserves, and gets, the highest respect.
  But arbitrary enforcement is not just a danger when many people
  enforce the law. It can also be a danger when one person is
  given the job,78 if his determination veers too far away from the
  standard set down by Congress. Here, the Secretary’s did.79
                                *     *     *
  Vagueness doctrine has sometimes been criticized.
  “It is not likely,” Justice Holmes said, “that a criminal will
  carefully consider the text of the law before he murders or
  steals.” McBoyle, 283 U.S. at 27.
  That may very well be true.
  But it is also true that “[t]he general outlines of the law ---
  or its lack of sufficiently definite shape, and hence its
  brooding, overreaching threat --- tend to be noticed by those
  who may be specially affected[.]” Alexander Bickel, The Least


  78 See Bantam Books, 372 U.S. at 71; Mahler, 264 U.S. at 40; cf.
  Aptheker, 378 U.S. at 501–02.
  79 Void-for-vagueness doctrine is analogous in some ways to the
  non-delegation doctrine. In a non-delegation case, Justice
  Gorsuch has said this:

             The Constitution promises that only the
             people’s elected representatives may adopt
             new federal laws restricting liberty. Yet
             the statute before us . . . endow[s] the
             nation’s chief prosecutor [the Attorney
             General] with the power to write his own
             criminal code . . . . Yes, those affected
             are some of the least popular among us. But
             if a single executive branch official can
             write laws restricting the liberty of this
             group of persons, what does that mean for
             the next?
  Gundy v. United States, 588 U.S. 128, 149 (2019) (Gorsuch, J.,
  dissenting).
                                     93
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 94 of 106 PageID:
                                    2806


  Dangerous Branch: The Supreme Court at the Bar of Politics 150-
  51 (1962).
  Who will be “specially affected” here?
  The Petitioner, to be sure.
  And behind him a range of foreign nationals, of whom there are
  large numbers living ordinary lives in our country, who might
  feel the “threat” of Section 1227 being used without a
  “sufficiently definite shape.” Id.
  But to see the full, end-of-line answer to the question of who
  might be “affected,” look more broadly.
  The Supreme Court has repeatedly held that the vagueness law
  that applies in removal cases like this one is to be the same
  vagueness law that applies in criminal cases. See Dimaya, 584
  U.S. at 156–57; Jordan, 341 U.S. at 229-31.
  And there is every reason to think the street runs two ways.
  If Section 1227 can apply, here, to the Petitioner, then other,
  similar statutes can also one day be made to apply.
  Not just in the removal context, as to foreign nationals.             But
  also in the criminal context, as to everyone.
  This point was alluded to in 1996, the first and only time
  before today that a federal court has written substantively on
  Section 1227.
             Imagine, for a moment, how quickly our
             constitutional hackles would rise if a local
             police chief were granted the power to
             arrest any person whose mere presence would
             cause potentially serious adverse
             consequences for the public peace. . . . If
             the hypothetical police chief statute would
             be void for vagueness (as it obviously
             would), then so, too, must be Section 1227.
  Massieu, 915 F. Supp. at 701 n.19.
                                *     *     *
  The Court holds: the Petitioner is likely to succeed on the
  merits of his claim that Section 1227, as applied to him here



                                     94
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 95 of 106 PageID:
                                    2807


  through the Secretary of State’s determination, is vague in
  violation of the Due Process Clause of the Constitution.80

  VI.   Failure to Disclose

  Recall that in addition to the Secretary of State’s
  determination, federal officials have sought to remove the
  Petitioner from the United States on another ground. See
  Part I.A.
  The Petitioner obtained his permanent residence, it is alleged,
  “by fraud or by willfully misrepresenting a material fact.”
  Additional Charges of Inadmissibility at 1 (ECF 90-1) (citing 8
  U.S.C. § 1182(a)(6)(C)(i)).81
  Per the Respondents, these alleged failures to disclose add up
  to “an independent basis to justify removal.” Opposition Brief
  at 30.
  Last month, the Court noted that the Petitioner had not lodged
  any “challenge to the second charge.” Khalil, 2025 WL 1232369,
  at *3 n.7. “[T]here is no reference to [such a claim] in the
  habeas petition.” Id.
  After that, the Petitioner amended his habeas petition to
  include two paragraphs on the failure-to-disclose charge, and
  these new paragraphs allude to the First Amendment. See Redline
  Petition Comparison ¶¶ 88–89 (May 1, 2025) (ECF 223-2).82


  80 The citation to Massieu should not be misunderstood. The
  Court does not suggest any view as to whether Section 1227 is
  facially vague. That question has not been posed here. See
  footnote 19.
  81 In particular, federal officials contend that when the
  Petitioner applied for lawful permanent residence in 2024, he
  did not disclose that he was “a member” of the United Nations
  Relief and Works Agency for Palestinian Refugees (“UNRWA”), that
  he worked at the British Embassy in Beirut, or that he was in a
  group called Columbia University Apartheid Divest. See
  Additional Charges of Inadmissibility at 1.
  82 Does this Court have jurisdiction over a First Amendment–
  related challenge to the failure-to-disclose charge? Plainly
  yes, if Section 1252(b)(9) of Title 8 does not apply to pre-
  final-order-of-removal cases like this. See Khalil, 2025 WL


                                     95
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 96 of 106 PageID:
                                    2808


  But even so, the amended portions of the Petition are unclear.
  They say that the 2025 efforts to remove the Petitioner from the
  United States for his alleged 2024 failure to disclose are
  “evidence of the government’s unlawful Policy of targeting for
  detention and removal noncitizens who engage in protected
  expressive activity in support of Palestinian rights or critical
  of Israel.” Petition ¶ 89 (emphasis added).
  Do they also imply a claim that if the alleged “Policy” is
  struck down on First Amendment grounds (as the Petitioner seeks,
  see id. at 28), then the Respondents must be enjoined from
  pursuing the failure-to-disclose grounds for removal?
  Maybe, maybe not.
  But assume for present purposes the answer is yes.
  The Court’s prior opinion emphasized that the Petitioner’s legal
  briefs did not do meaningful work as to a challenge to the


  1232369, at *16–21. If it does, the questions are closer than
  those the Court resolved in its prior Opinion. That is because
  an immigration court may be able to deploy its expertise to
  resolve the failure-to-disclose charge. Cf. id. at *39–43. For
  example, an immigration court could indicate whether immigration
  law indeed required certain disclosures, and it could resolve
  any possible factual disputes as to why forms may not have been
  filled out in a certain way. Cf. id. at *40. And if an
  immigration court holds that the Petitioner did not have to
  disclose the allegedly omitted information, that could fully
  dispose of the underlying ground for removal, without any need
  for a federal court to reach a potentially complex First
  Amendment question. Cf. Elgin v. Dep’t of Treasury, 567 U.S. 1,
  23 (2012). All this weighs against this Court’s jurisdiction,
  but not heavily enough. This is because the Petitioner seems to
  suggest the failure-to-disclose charge (as part of an allegedly
  retaliatory policy) violates the First Amendment. First
  Amendment claims call for speed, and they raise issues an
  immigration court cannot remedy. See Khalil, 2025 WL 1232369,
  at *30–34. (As to the vagueness claim discussed in prior parts
  of this Opinion and Order, there is plainly jurisdiction. There
  is no final order of removal. Immigration courts cannot remedy
  constitutional challenges of the sort claimed. There is no
  fact-finding to be done for now. Immigration-law expertise has
  no place. And the vagueness challenge as to the Secretary’s
  determination is tightly bound up with First Amendment issues.)

                                     96
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 97 of 106 PageID:
                                    2809


  failure-to-disclose claim. See Khalil, 2025 WL 1232369, at *3
  n.7 (“Nor does the legal brief purport to seek relief from the
  Court based on the second [failure-to-disclose] charge.”).
  But this has not changed.
  The Petitioner’s legal briefs still make no substantial argument
  as to the failure-to-disclose claim --- even as lengthy
  supplemental briefs have been filed.
  To prevail on a First Amendment–retaliation claim, the
  Petitioner would presumably need to show that the effort to
  remove him based on his alleged failure to disclose was caused
  by his First Amendment–protected activity. See Nieves v.
  Bartlett, 587 U.S. 391, 398 (2019).
  But the burden is his, see Mt. Healthy City Sch. Dist. Bd. of
  Educ. v. Doyle, 429 U.S. 274, 287 (1977), and he has made no
  real effort to carry it. He has not developed any arguments in
  his legal briefs or cited anything83 from a large body of
  potentially relevant case law.84
  Recall that to obtain a preliminary injunction, a party must
  show that he is likely to succeed on the merits of his claim.
  See Lackey v. Stinnie, 145 S. Ct. 659, 667 (2025); Starbucks
  Corp. v. McKinney, 602 U.S. 339, 345 (2024); Winter v. Nat. Res.
  Def. Council, Inc., 555 U.S. 7, 20 (2008); Munaf v. Geren, 553
  U.S. 674, 690 (2008); Veterans Guardian VA Claim Consulting LLC
  v. Platkin, 133 F.4th 213, 218 (3d Cir. 2025); Ayers v. Phila.
  Hous. Auth., 908 F.2d 1184, 1195 & n.23 (3d Cir. 1990); In re



  83 On, for example, the inferences that can and cannot be drawn
  as to causation from temporal proximity. See Watson v. Rozum,
  834 F.3d 417, 424 (3d Cir. 2016).
  84 And presumably because the Petitioner says nothing
  substantial, there is hardly anything in response from the
  Respondents, beyond noting the Petitioner allegedly did not
  disclose on his lawful-permanent-resident application that he
  was a “member” of UNRWA, even as his LinkedIn account allegedly
  says he was employed there. See Respondents’ Supplemental Brief
  at 9 n.3. (This might mean to suggest that a kind of
  inevitable-discovery rule is implicated --- applicable to a
  First Amendment–retaliation claim, as it might be to, say, a
  Fourth Amendment claim.)

                                     97
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 98 of 106 PageID:
                                    2810


  Arthur Treacher’s Franchisee Litig., 689 F.2d 1137, 1143 (3d
  Cir. 1982); see also 42 Am. Jur. 2d Injunctions § 18 (2025).
  The Petitioner has not meaningfully tried to do so.
  And there is another problem, too.
  The Third Circuit has held that a “preliminary injunction may
  not be based on facts not presented at a hearing, or not
  presented through affidavits, deposition testimony, or other
  documents, about the particular situations of the moving
  parties.” Adams v. Freedom Forge Corp., 204 F.3d 475, 487 (3d
  Cir. 2000) (cleaned up); see Bradley v. Pitt. Bd. of Educ., 910
  F.2d 1172, 1178 (3d Cir. 1990); see also Baker v. Fishman, 2018
  WL 6727536, at *5 (D.N.J. Dec. 21, 2018), aff’d sub nom. Baker
  v. Ahsan, 785 F. App’x 904 (3d Cir. 2019); Herley Indus., Inc.
  v. R Cubed Eng’g, LLC, 2020 WL 6504588, at *4 (E.D. Pa. Nov. 5,
  2020) (collecting district court cases); Bascom Food Prods.
  Corp. v. Reese Finer Foods, Inc., 715 F. Supp. 616, 624 n.14
  (D.N.J. 1989).
  Here, the Petitioner has not put forward relevant “affidavits,
  deposition testimony, or other documents.”
  To be sure, a verified85 pleading can sometimes86 close the gap.
  See, e.g., K-2 Ski Co. v. Head Ski Co., 467 F.2d 1087, 1088 (9th
  Cir. 1972); see also Bascom Food Prods. Corp., 715 F. Supp. at
  624 n.14 (D.N.J. 1989); cf. 28 U.S.C. § 2242 (requiring habeas
  petitions to be verified).
  And a declaration filed in this case suggests that the
  Petitioner has “verif[ied]” his pleading. See ECF 50-1.
  But the verification was made as to the First Amended Petition
  for habeas relief (ECF 38), not the current one. And the First
  Amended Petition said nothing about the failure-to-disclose
  basis for removal. Indeed, the First Amended Petition was filed



  85 A verified pleading “contains a sworn statement indicating
  its contents are true and may be treated as an affidavit.”
  Germain v. Shearin, 725 F. App’x 225, 226 (4th Cir. 2018).
  86 “Sometimes” because a verified pleading rarely supplies the
  sort of highly detailed and specific information, based on the
  personal knowledge of the affiant, that is especially telling.

                                     98
Case 2:25-cv-01963-MEF-MAH   Document 272   Filed 05/28/25   Page 99 of 106 PageID:
                                    2811


  before the failure-to-disclose charge was even made by federal
  officials.
  The Petitioner, in short, has not put evidence in the record
  that relates to the failure-to-disclose charge.
  The law is clear: preliminary injunctions cannot issue in such
  circumstances. See Adams, 204 F.3d at 487; Bradley, 910 F.2d at
  1178.
  To sum up: to the extent the Petitioner is moving to
  preliminarily enjoin the failure-to-disclose ground for removal,
  that motion must be denied. He has not carried his burden of
  showing a likelihood of success on the merits.

  VII. Remedy

  As to the merits, the Court has held two things.
  First, that the Petitioner is likely to succeed on his vagueness
  challenge related to the Secretary of State’s determination.
  See Part V.
  And second, that he is not likely to succeed on his challenge as
  to the efforts to remove him for allegedly failing to make
  certain disclosures on his lawful-permanent-resident
  application. See Part VI.
  As to remedy, the Petitioner seeks a preliminary injunction, see
  Motion for Preliminary Injunction at 40, and to get one he must
  show “that he is likely to suffer irreparable harm in the
  absence of preliminary relief.” Winter, 555 U.S. at 20.
  To do that, a litigant generally needs to put forward evidence
  of “irreparable harm.” See footnote 6.87



  87 A likely violation of a First Amendment right can excuse the
  need to show irreparable injury. See Del. State Sportsmen’s
  Ass’n, Inc. v. Del. Dep’t of Safety & Homeland Sec., 108 F.4th
  194, 204 (3d Cir. 2024) (citing Roman Cath. Diocese of Brooklyn
  v. Cuomo, 592 U.S. 14, 19 (2020) (per curiam)); see also K.A. ex
  rel. Ayers v. Pocono Mountain Sch. Dist., 710 F.3d 99, 113 (3d
  Cir. 2013). The Petitioner seems to be invoking this
  presumption. See Motion for Preliminary Injunction at 35. But
  does this exception get traction here? The Court has not


                                     99
Case 2:25-cv-01963-MEF-MAH   Document 272    Filed 05/28/25   Page 100 of 106
                              PageID: 2812


As noted, see Part VI, the only relevant evidence comes from the
Petitioner’s verified First Amended Petition.
But the crux of the First Amended Petition’s irreparable-injury
contention is that the Secretary of State’s determination
“prevent[s] him from speaking now (through detention)[.]” First
Amended Petition ¶ 89 (emphasis added).
But preliminarily enjoining the Secretary’s determination would
not seem to end the Petitioner’s “detention” to the extent he
remains detained on another basis, for his alleged 2024 failure
to make certain disclosures in his lawful-permanent-resident
application.
There may be other bases for showing irreparable harm --- the
Secretary’s determination, for example, might add another
meaningful layer of free speech chill, and there is some flavor
of this contention in the First Amended Petition. See id. (the
determination is an “attempt to chill (through past punishment
and ongoing threat) . . . his future speech in the United
States”) (emphasis added); see also id. ¶ 8 (among other things,
the Secretary’s determination is “plainly intended . . . to
silence, or at the very least restrict and chill, his speech now
and in the future”) (emphasis added).
But nothing along these lines, or others, is developed --- maybe
because the First Amended Petition’s irreparable-injury sections
were filed before federal officials brought the failure-to-
disclose charge.
At that point in time, it looked like any irreparable injury as
to the Secretary’s determination was the “detention” it caused.
But now the detention seems to have another, arguably
independent cause --- the failure-to-disclose charge.
The Court will issue an Order shortly to permit the Petitioner
to quickly address these issues, and for the Respondents to
respond.88


resolved the Petitioner’s First Amendment claim, but rather his
vagueness claim.
88 The Petitioner will be permitted to add affidavits or other
factual evidence to the record, to explain why they are not
necessary, see footnote 87, or both. The Respondents have
expressed dissatisfaction with the fast pace that a large number


                                  100
Case 2:25-cv-01963-MEF-MAH   Document 272    Filed 05/28/25   Page 101 of 106
                              PageID: 2813
Case 2:25-cv-01963-MEF-MAH   Document 272    Filed 05/28/25   Page 102 of 106
                              PageID: 2814




                  APPENDIX A
Case 2:25-cv-01963-MEF-MAH   Document 272    Filed 05/28/25   Page 103 of 106
                              PageID: 2815
Case 2:25-cv-01963-MEF-MAH   Document 272    Filed 05/28/25   Page 104 of 106
                              PageID: 2816
Case 2:25-cv-01963-MEF-MAH   Document 272    Filed 05/28/25   Page 105 of 106
                              PageID: 2817




                  APPENDIX B
Case 2:25-cv-01963-MEF-MAH   Document 272    Filed 05/28/25   Page 106 of 106
                              PageID: 2818
